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FLEISHER DECLARATION:
      EXHIBIT A
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             UNIVERSITY OF PENNSYLVANIA - PERELMAN SCHOOL OF MEDICINE
                                   Curriculum Vitae

                                                                                         Date: 10/16/2021

                                          Lee A. Fleisher, M.D.

Address:                  Chief Medical Officer
                          Director, Center for Clinical Standards and Quality
                          Center for Medicare and Medicaid Services
                          Baltimore, MD

                          Professor of Anesthesiology and Critical Care
                          Professor of Medicine
                          Perelman School of Medicine of the University of Pennsylvania
                          Philadelphia, PA 19104 USA


If you are not a U.S. citizen or holder of a permanent visa, please indicate the type of visa you have:
                            none (U.S. citizen)

Education:
                  1981      B.A.          University of Pennsylvania (Molecular Biology)
                  1986      M.D.          State University of New York at Stony Brook (Medicine)
                  2024      M.Law         University of Pennsylvania Carey School of Law (Law)

Postgraduate Training and Fellowship Appointments:
                  1986-1987            Intern in Surgery, University of Minnesota
                  1987-1990            Resident in Anesthesiology, Yale University

Faculty Appointments:
                1990-1992                 Assistant Professor of Anesthesiology, Yale University School
                                          of Medicine
                  1992-1996               Assistant Professor of Anesthesiology and Critical Care
                                          Medicine, Johns Hopkins University School of Medicine
                  1993-2003               Joint Appointment in Medicine, Johns Hopkins University
                                          School of Medicine
                  1996-2002               Affiliate Faculty, Program for Medical Technology
                                          Assessment and Practice, Johns Hopkins University School of
                                          Medicine
                  1996-2002               Associate Professor of Anesthesiology and Critical Care
                                          Medicine, Johns Hopkins University School of Medicine
                  1996-2003               Joint Appointment in Health Sciences Informatics, Johns
                                          Hopkins University School of Medicine
                  1997-2003               Joint Appointment in Health Policy and Management, Johns
                                          Hopkins University School of Public Health
                  1997-2003               Affiliate Faculty, Center for Evidence Based Medicine, Johns
                                          Hopkins University School of Medicine
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                 2002-2003             Professor of Anesthesiology and Critical Care Medicine, Johns
                                       Hopkins University School of Medicine
                 2004                  Professor of Anesthesiology and Critical Care, University of
                                       Pennsylvania School of Medicine
                 2004-2010             Adjunct Professor of Health Sciences Informatics, Johns
                                       Hopkins University
                 2004-2015             Consulting Professor of Anesthesiology, Duke University
                 2004-2017             Professor of Medicine, University of Pennsylvania School of
                                       Medicine (Secondary)
                 2004-2020             Robert Dunning Dripps Professor of Anesthesia, University of
                                       Pennsylvania School of Medicine
                 2019-present          Professor of Medicine, University of Pennsylvania School of
                                       Medicine (Secondary)
                 2020-present          Professor of Anesthesiology and Critical Care, University of
                                       Pennsylvania School of Medicine

Hospital and/or Administrative Appointments:
                 1990-1992             Director, Division of Peripheral Vascular Anesthesia, Yale
                                       New Haven Hospital
                 1990-1992             Attending Physician, Critical Care Anesthesia Service, Yale
                                       New Haven Hospital
                 1990-1992             Attending Physician, Liver Transplantation Team, Yale New
                                       Haven Hospital
                 1992-2003             Attending Physician, Department of Anesthesiology and
                                       Critical Care Medicine, Johns Hopkins Hospital
                 1997-2003             Anesthesia Coordinator, General Operating Room, Johns
                                       Hopkins Hospital
                 1998-2001             Director of Manpower and Program Development
                                       Department of Anesthesiology and Critical Care Medicine,
                                       Johns Hopkins University School of Medicine
                 1998-2001             Chief, Division of Perioperative Health Services Research
                                       Department of Anesthesiology and Critical Care Medicine,
                                       Johns Hopkins University School of Medicine
                 1999-2003             Clinical Director of Operating Rooms
                                       Department of Anesthesiology and Critical Care Medicine,
                                       Johns Hopkins University School of Medicine
                 2001-2003             Vice Chair for Clinical Investigation
                                       Department of Anesthesiology and Critical Care Medicine,
                                       Johns Hopkins University School of Medicine
                 2002-2003             Director, Program for Medical Technology Assessment and
                                       Practice, Johns Hopkins University School of Medicine
                 2004-present          Chair, Department of Anesthesiology and Critical Care,
                                       University of Pennsylvania Health System
                 2004-present          Member, Medical Board of the Hospital of the University of
                                       Pennsylvania (Vice-Chair, 2012-2014; Chair, 2014-2016)
                 2007                  Vice-Chair, Search Committee for Chair of Medicine,
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                                 University of Pennsylvania
                 2008-2014       Chair, Credentials Committee, Hospital of the University of
                                 Pennsylvania
                 2008-present    Chair, Committee on Professional Liability, Clinical Practices
                                 of the University of Pennsylvania
                 2010-2012       1st Vice-President, Medical Board, Hospital of the University
                                 of Pennsylvania
                 2010-2012       Chair, Bylaws Committee of the Medical Board of the
                                 Hospital of the University of Pennsylvania
                 2011-2014       Member, Advisory Committee for Medical Education
                                 (ACME), University of Pennsylvania School of Medicine
                 2012-2014       President-elect, Medical Board of the Hospital of the
                                 University of Pennsylvania
                 2012-2014       Chair, Committee on Clinical Effectiveness and Quality
                                 Improvement, Hospital of the University of Pennsylvania
                 2012-2016       Member, Board of Trustees, Hospital of the University of
                                 Pennsylvania
                 2012-2015       Co-Chair, Perelman School of Medicine Information
                                 Technology Committee
                 2012-present    Member, Contracting team with Blue Cross, University of
                                 Pennsylvania Health System
                 2014-2016       President, Medical Board, Hospital of the University of
                                 Pennsylvania
                 2015-2016       Member, Leadership and OversightCommittee, Penn Medicine
                                 License Committee on Medical Education (LCME)
                                 reaccreditation
                 2016-present    Member, Advisory Council for the Office of Inclusion and
                                 Diversity, Penn Medicine
                 2017-present    Member, IBC/Penn Medicine Delegated Care Mgmt
                                 Workgroup, IBC/UPHS Product Deep-Dive Workgroup,
                                 IBC/Penn Medicine Episodes Workgroup
                 2018-present    Clinical Program Lead, Penn Med-Vinmec Alliance

Other Appointments:
                2004-present     Senior Fellow, Leonard Davis Institute for Health Economics
                                 (Member, Executive Committee)
                 2011-present    Member, Managed Care Contracting Advisory Committee of
                                 the Clinical Practices of the University of Pennsylvania Health
                                 System, Vice-Chair (2014-present)
                 2014-present    Member,, Medical Alumni Advisory Committee( MAAC),
                                 Perelman School of Medicine, University of Pennsylvania
                 2014-present    Affiliated Faculty, Quattrone Center for the Fair
                                 Administration of Justice of the University of Pennsylvania
                                 Law School
                 2020-present    CMS Chief Medical Officer and Director, Center for Clinical
                                 Standards and Quality, Centers for Medicare and Medicaid
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                                      Services

Specialty Certification:
                   1991               American Board of Anesthesiology

Licensure:
                  1991-2004           Maryland - D42689
                  2004-present        Pennsylvania MD423444

Awards, Honors and Membership in Honorary Societies:
                1981                Benjamin Franklin Scholar
                                    University of Pennsylvania
                1981                Magna cum laude with Distinction in Biology
                                    University of Pennsylvania
                1986                M.D. with Distinction in Research
                                    State University of New York at Stony Brook
                1989                Burroughs Wellcome Resident Scholar
                1990                Young Investigator Award
                                    American Society of Critical Care Anesthesiologists
                1995-1996           Richard S. Ross Clinician Scientist
                2005-present        John Morgan Society
                2007                Member, National Academy of Medicine (formerly Institute of
                                    Medicine)
                2007                John C. Oakley Pioneer in Pain Medicine Award
                2009                Foundation for Anesthesia Education and Research Hononary
                                    Research Lecturer
                2011                2011 Distinguished Alumni Award, State University of New
                                    York at Stony Brook School of Medicine
                2011                Eliasberg Medal for Anesthesiology Accomplishments from
                                    Mt. Sinai Medical School
                2011                Foundation for Anesthesia Education and Research Academy
                                    of Mentors
                2012                Member (Honorary), Chinese Society of Anesthesiologists
                2013                C. William Hanson, Jr., M.D. Service Award, Hospital of the
                                    University of Pennsylvania
                2015                2015 Innovations in Criminal Justice award, Quattrone Center
                                    for the Fair Administration of Justice: Using Root Cause
                                    Analysis To Instill a Culture of Self-Improvement (,
                                    Association of Prosecuting Attorneys
                2015                Chinese Society of Anesthesiologists Distinguished Service
                                    Award
                2016                Christian R. and Mary F. Lindback Award for Distinguished
                                    Teaching, University of Pennsylvania
                2018                Honorary Fellow, Chinese College of Anesthesiology, Chinese
                                    Society of Anesthesiology
                2020                Foundation of Anesthesia Education and Research (FAER)
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                                         Mentoring Excellence in Research Award

Memberships in Professional and Scientific Societies and Other Professional Activities:
  International:
1990-Present     International Anesthesia Research Society

1990-1996         International Society for Ambulatory Monitoring - Founding Fellow

1990-Present      Society of Cardiovascular Anesthesiologists ((Research Committee, Member 1993-
                  1997, 2003-2004, Chair 1997-2003)
                  (Board of Directors, Member 1995-2001)
                  (Taskforce on Practice Guidelines, Chair 2003-2005))

1993-2000         Association of Pharmacoeconomic and Outcome Research (Education Committee,
                  Member 1997)

1995-2003         International Society for Technology Assessment in Health Care

2000-2004         International Society of Pharmacoeconomics and Outcome Research

2005-Present      Society for Perioperative Assessment and Quality Improvement (Member, Board of
                  Directors)

  National:
1987-Present      American Society of Anesthesiologists ((Committee on Acute Medicine, Adjunct
                  Member 1992-1994)
                  (Committee on Refresher Courses, Member 1994, 2003-2008)
                  (Committee on Guidelines for Preoperative Evaluation, Consultant 1994-1997,
                  Member 1999)
                  (Subcommittee on Clinical Circulation, Member 1996-2000, 2005, 2006, 2007, Chair
                  2001-2004)
                  (Committee on Performance and Outcomes Measurement, Member 2005-present;
                  Chair 2008-2011)
                  (Committee on Regional and Metropolitan Refresher Courses, Adjunct Member
                  1997-1998)
                  (Committee on Outreach Education, Member 1997-1999)
                  (Committee on Scientific Papers, Member 1997, 2001-2004)
                  (Committee on Annual Meeting, Member 1997, 2001-2004)
                  (Committee on Practice Parameters, Member 2003-present)
                  (Representative to the Surgical Care Improvement Project 2003-present)
                  (Committee on Research, Member 2007-2010, 2011-present)
                  (Representative to American Medical Association Physician Consortium for
                  Performance Improvement 2011-Present);
                  Chair, Patient Safety Initiative Perioperative Brain Health Initiative 2015-Present)

1991-1992         American Society of Critical Care Anesthesiologists (Program Committee, Member
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                 1991)

1992-1993        National Institute of Mental Health (Biological Psychopharmacology Study Section,
                 Ad-hoc Reviewer)

1993-Present     American Heart Association- Fellow (ACC/AHA Task Force for Perioperative
                 Cardiovascular Evaluation for Noncardiac Surgery (Member 1993-2002, Chair 2003-
                 present)
                 Anesthesiology, Radiology and Surgery Study Committee (Member 1996-2001),
                 Fellow 2007; Executive Database Committee (member 2007-2011); Member,
                 Guideline Transformation & Optimization Advisory Group 2016-Present)

1994-Present     American College of Cardiology - Fellow (Member, ACCF/AHA Task Force on
                 Practice Guidelines (2014-2020))

1994             National Heart, Lung, Blood Institute (SCOR Study Section, Ad-hoc Reviewer)

1995-Present     Society for Medical Decision Making

1998-Present     Society of Ambulatory Anesthesia ((Committee on Annual Meeting, Member 1999-
                 2003)
                 (Committee on Research, Member 2003-present, Chair 2005-2008)
                 (Committee on Development, Member 2003-2004)
                 (Task Force on Benchmarking Project, Member 2006))

1999-Present     Association of University Anesthesiologists (Member (1996-present), Councilor-at-
                 Large (1999-2001), President-elect (2011-2012), President (2012-2014), Past
                 President (2014-2016))

1999-Present     Center for Medicare and Medicaid Services (Technical Expert Panel evaluating
                 applications for the Cardiovascular Demonstration Project 1999, Innovation Advisors
                 Program (2012-2013); Hospital-Acquired Condition (HAC) Reduction Program
                 Technical Expert Panel (2014); Member, Care Transformation Forum, an Initiative of
                 the Health Care Payment Learning & Action Network (2019-2020))

1999             Society for Obstetric Anesthesia and Perinatology

2002-present     Association of American Medical Colleges (Council of Faculty and Academic
                 Specialties (Representative from AUA 2013-present, Member, Administrative
                 Council (2013-2016), Council of Academic Specialties (Representative from AUA
                 2002-present, Ex-officio member of Administrative Board 2011-2013), , CAS
                 Initiative to Highlight Faculty Innovations (Chair 2010-2013), CAS Leadership
                 Development Task Force (2009-2010);)

2003-2010        Surgical Care Improvement Project (sponsored by the Centers for Medicare and
                 Medicaid Services, Agency for Healthcare Policy and Research, Centers for Disease
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                 Control and 10 other partners) (Member, Steering Committee; Member,
                 Communications Subcommittee, Member, Technical Expert Panels on Surgical Site
                 Infection and Cardiovascular Disease; Chair, Publications Committee)

2004-2008        American Medical Association (Member, AMA Physician Performance Improvement
                 Committee)

2004-2008        Association of Anesthesiology Program Directors (Council member 2005-6)

2005-present     Morton Society (President (2016-2018))

2006-2015        Foundation for Anesthesia Education and Research (Member, Board of Directors;
                 Member 2006-2015, Development Committee; Member 2006, Grant Awards Review
                 Committee; Member, Geriatric Research Council; Member 2006, Cerebral
                 Functioning Monitoring Task Force)

2007-Present     Academy Health (Member, Committee on Advocacy and Public Policy (2018))

2007-Present     National Academy of Medicine (formerly Institute of Medicine) (Member, IOM
                 Priority Assessment Inventory Working Group (2009); Reviewer, Accounting for
                 Social Risk Factors in Medicare Payment: Identifying Social Risk Factors (2016);
                 Member, Committee on Reproductive Health Services: Assessing the Safety and
                 Quality of Abortion Care (2016-Present); Planning Committee and Presenter,
                 Building the Evidence Base for Improving Health Care: Contributions, opportunities
                 and priorities (2017-8))

2007             Rand Corporation/Assistant Secretary of Health for Planning and Evaluation
                 (Member, Technical Expert Panel)

2008-2014        AAAHC Institute for Quality Improvement (Member, Board of Trustees; Member,
                 Measurement Development Task Force 2009-2011)

2008-Present     National Quality Forum (Ex-oficio member (2015-6), Member (2019-2022),
                 Treasurer ( 2019-21) Board of Directors; Member, Perioperative Care Steering
                 Committee 2008-2009; Co-Chair, Main Patient Outcomes Steering Committee 2009-
                 2011; Member 2012-2018, Vice-Chair 2014-2015, Chair 2015-2016 Consensus
                 Standards Advisory Committee; Member, Measure Evaluation Committee 2013; Co-
                 Chair, Surgery Standing Committee 2014-7; Measurement and Use Advisory Panel
                 2015-2016; Member, Measures Application Partnership Hospital Workgroup 2016-
                 2019; Member, Measure Feedback Committee 2018-2019)

2012             Physician Quality Reporting System Program (Preoperative Beta-Blocker in Patients
                 with Isolated CABG Surgery Technical Expert Panel (TEP))

2012             Yale New Haven Health Services Corporation/Center for
                 Outcomes Research and Evaluation (YNHHSC/CORE)/ The Society of Thoracic
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                  Surgeons (STS)/ CMS (Member, Technical Expert Panel (TEP) for the Coronary
                  Artery Bypass Graft (CABG)outcomes measures)

2013-2019         Physicians Consortium for Performance Improvement (Member, Quality
                  Improvement Advisory Council)

2014-2016         American Institutes for Research (Member, Advisory Board, Gordon and Betty
                  Moore Foundation funded project developing a coordinated approach to measuring
                  patient and family engagement in the hospital setting)

2014-Present      Blue Cross Blue Shield Association (Member, Medical Advisory Panel, Technology
                  Evaluation Center)

2016-Present      American Society for Enhanced Recovery (Member, Advisory Board 2016-Present)

2016-Present      Physician Leadership Academy (joint venture of Deloitte Consulting and Wharton
                  School) (Member, Board of Advisors 2016-Present)

2016-Present      Yale/YNHH Center for Outcomes Research and Evaluation (CORE) (Member,
                  Hospital-Wide Mortality Technical Working Group 2016-present; Member, 90-day
                  CABG Mortality Bundled Payment Technical Evaluation Panel 2018-present;
                  member, Star Ratings Provider Leadership Work Group; member, Technical Expert
                  Panel (TEP) for the Reevaluation of Inpatient Claims-Based Outcome Measure 2019-
                  2020)

2017-2023         Accreditation Council for Graduate Medical Education (Member, Standing Panel for
                  Accreditation Appeals in the specialty of Anesthesiology)

2018-Present      Leapfrog Group (Chair, Ambulatory Surgery Expert Panel)

2019-Present       Health Care Payment Learning and Action Network (LAN) (member, Care
                  Transformation Forum (CTF))

2019              Department of Health and Human Services - Value Based Transformation - June
                  Sepsis Planning Meeting


Editorial Positions:
                   1994-Present   Ad hoc Reviewer, Anesthesia & Analgesia
                   1995-Present   Ad hoc Reviewer, Journal of Clinical Anesthesia
                   1995-2000      Ad hoc Reviewer, Journal of Clinical Monitoring
                   1996-Present   Editorial Board Member, Journal of Cardiothoracic and Vascular
                                  Anesthesia
                  1996-2001       Co-Editor In-Chief, Problems in Anesthesia
                  1996-1998       Expert Analyst, Vascular Anesthesia, The Cardiovascular and
                                  Thoracic Anesthesia Journal Club Journal
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   Lee A. Fleisher, M.D.                                                              Page 9

                 1997-Present   Question Writer, In-Training Council, American Board of
                                Anesthesiology
                 1999-2002      Editorial Board Member, American Journal of Anesthesiology
                 1999-Present   Editorial Board Member, Anesthesiology News
                 1999-2000      Section Editor, Practice Management, Economics and Technology
                                Assessment, Current Anesthesiology Reports
                 2000-2003      Associate Editor, Anesthesiology
                 2000-Present   Ad hoc Reviewer, Circulation
                 2000-Present   Ad hoc Reviewer, American Journal of Physiology
                 2000-Present   Editorial Board Member, Current Opinion in Anesthesiology
                 2001-Present   Ad hoc Reviewer, New England Journal of Medicine
                 2001-Present   Ad hoc Reviewer, Chest
                 2001-Present   Ad hoc Reviewer, Journal of the American College of Cardiology
                 2001-Present   Ad hoc Reviewer, Medical Care
                 2001-Present   Ad hoc Reviewer, Journal of Nuclear Cardiology
                 2001-2002      Executive Committee Member, American Journal of Anesthesiology
                 2001-Present   Consulting Editor, Anesthesiology Clinics of North America
                 2001-Present   Ad hoc Reviewer, Journal of the American Medical Association
                 2002-Present   Section Editor, Pro/Con, Journal of Cardiothoracic and Vascular
                                Anesthesia
                 2002-Present   Ad hoc Reviewer, Veterans Administration Clinical Trials Study
                                Section
                 2002-Present   Ad hoc Reviewer, Urology
                 2005-Present   Ad-hoc reviewer, Medical Care
                 2011-present   Perioperative Medicine, Co-Editor-in-Chief (2017-present)
                 2012-present   Annals of Surgery, Member, Editorial Board

Academic and Institutional Committees:
                1990-1992       Member, Residency Review Committee
                                Department of Anesthesiology
                                Yale University School of Medicine
                1994-1999       Member, Outpatient General Clinical Research Center Protocol
                                Review Subcommittee
                                Johns Hopkins University School of Medicine
                1994-2003       Member, Education Committee
                                Department of Anesthesiology and Critical Care Medicine
                                Johns Hopkins University School of Medicine
                1994-1995       Member, Patient Satisfaction Task Force
                                Department of Anesthesiology and Critical Care Medicine
                                Johns Hopkins Hospital
                1994-1999       Member, Presurgical Work Group
                                Surgical Services Design Team
                                Johns Hopkins Hospital
                1995            Member, Ambulatory Surgery Task Force
                                Johns Hopkins Hospital
                1998-2003       Member, Service Executive Committee
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                          Department of Anesthesiology and Critical Care Medicine
                          Johns Hopkins University School of Medicine
              1998-2003   Member, Executive Manpower Committee
                          Department of Anesthesiology and Critical Care Medicine
                          Johns Hopkins University School of Medicine
              1998-1999   Member, Operating Room Posting Task Force
                          Johns Hopkins Hospital
              1999-2003   Member, Vice-Chairman Committee
                          Department of Anesthesiology and Critical Care Medicine
                          Johns Hopkins University School of Medicine
              1999-2003   Member, Minimally Invasive Surgery Focus Group
                          Johns Hopkins Hospital
              1999-2003   Member, Operating Room Executive Committee
                          Johns Hopkins Hospital
              1999-2003   Member, General Operating Room Subcommittee
                          Johns Hopkins Hospital
              2000-2001   Participant, Leadership Development Program
                          Johns Hopkins University School of Medicine
              2000-2003   Member, Clinical Competence Committee
                          Department of Anesthesiology and Critical Care Medicine
                          Johns Hopkins University School of Medicine
              2000-2002   Member, Office of Technology Licensing Advisory Committee
                          Medical School Council
                          Johns Hopkins University School of Medicine
              2000-2003   Member, Government Affairs Committee
                          Clinical Practice Association
                          Johns Hopkins University School of Medicine
              2000-2003   Member, Innovations in Patient Care - Long Term Strategies
                          Committee
                          Johns Hopkins Medicine
              2000-2003   Member, Simulation Center Committee
                          Johns Hopkins Hospital
              2000-2003   Member, Outpatient Surgery Operating Room Committee
                          Johns Hopkins Hospital
              2002-2003   Member, Ophthalmology Chair Search Committee
                          Johns Hopkins University School of Medicine
              2002-2003   Member, Budget and Finance Committee
                          Clinical Practice Association
                          Johns Hopkins University School of Medicine
              2002-2003   Member, Board of Advisors for the Johns Hopkins Biostatistics
                          Center
                          Johns Hopkins School of Hygiene and Public Health
              2004-2005   Member, Steering Committee of the Standing Committee
                          Department Chairs, University of Pennsylvania School of Medicine
              2004-2020   Member, Clinical Practices of the University of Pennsylvania Board
                          of Directors
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              2004-2006   Member, Clinical Practices of the University of Pennsylvania
                          Executive Committee
              2004-2005   Member, Steering Committee of the Standing Committee of
                          Department Chairs, Centers and Institutes
              2004-2020   Member, Standing Committee of Department Chairs, Centers and
                          Institutes
              2004-2020   Operating Room Executive Committee, Hospital of the University of
                          Pennsylvania
              2004-2005   Chair, Internal Review Committee of the Leonard Davis Institute,
                          University of Pennsylvania
              2004-2012   Member, Clinical Practices of the University of Pennsylvania
                          Finance Subcommittee
              2005-2007   Member, Clinical Practices of the University of Pennsylvania
                          Clinical Effectiveness and Quality Improvement Committee
              2005-2006   Member, Clinical Practices of the University of Pennsylvania
                          Finance Committee
              2005-2006   Member, Tenure Track Review Committee, University of
                          Pennsylvania School of Medicine
              2005-2006   Chair, Review Committee of the Department of Neurosurgery,
                          University of Pennsylvania School of Medicine
              2005-2006   Member, Steering Committee, Magnet Designation, Hospital of the
                          University of Pennsylvania
              2006        Member, Tia Sophia Review Committee
              2006-2007   Member, Committee to Review the Clinical Transplant Institute
                          Proposal
              2006-2020   Member, Penn Advisory Board, Robert Wood Johnson Clinical
                          Scholars Program
              2006-2008   Member, 2008 LCME Review Steering Committee (Chair, Medical
                          Student Task Force), University of Pennsylvania School of Medicine
              2006-2015   Member, Steering Committee, Comprehensive Neurosciences
                          Center
              2007        Co-chair, Department of Medicine Chair Search Committee
              2007-2020   Chair, Clinical Practice of the University of Pennsylvania
                          Professional Liability Subcommittee
              2008-2009   Member, Chair of Surgery Search Committee, University of
                          Pennsylvania
              2008-2009   Member, Search Committee for Chair of Ophthamology
              2009-2010   Member, Chair of Dermatology Search Committee
              2010-2011   Chair, Seach Committee for the Chair of the Department of Medical
                          Ethics and Health Policy
              2010-2020   Vice-Chair, Managed Care Contracting Subcommittee, Clinical
                          Practices of the University of Pennsylvania; Physician representative
                          to UPHS Contracting Committee with Independence Blue Cross
                          (2012, 2016)
              2012-2013   Member, Search for Chair of Department of Pediatrics, Perelman
                          School of Medicine
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  Lee A. Fleisher, M.D.                                                                  Page 12

                 2012-2013       Member, Integrating Knowledge Working Group (IKWG) for the
                                 Middle States Reaccreditation Self Study, University of
                                 Pennsylvania
                 2013            Chair, Search for Chair of Department of Biostatics and
                                 Epidemiology, Perelman School of Medicine
                 2014            Chair, Distinguished Alumni Award Committee
                 2014-2015       Chair, Orthopedic Review Committee
                 2015-2016       Chair, Department of Ophthalmology Review Committee
                 2016-2017       Chair, Pathology Review Committee
                 2016-2020       Member, Advisory Council for the Office of Diversity and Inclusion
                 2017-2018       Chair, Committee to review the Department of Health Policy and
                                 Medical Ethics
                 2017            Member, Search Committee for Senior Vice Dean for Education
                 2017            Member, Advisory group: search committee training project
                 2018-2019       Member, Search Committee for Director of Leonard Davis Institute
                                 of Healthcare Economics

Major Academic and Clinical Teaching Responsibilities:
                1994-1999       Section Leader, Clinical Decision Making Course
                                Medical Student Curriculum 2nd Year
                                Johns Hopkins University School of Medicine
                1996-2003       Course Instructor, Medical Technology Assessment
                                Johns Hopkins University School of Public Health
                1997-2003       Course Instructor, Decision Analysis, Summer Institute
                                Johns Hopkins University School of Public Health
                1997-2003       Director, Anesthesia Case Conference
                                Department of Anesthesiology and Critical Care Medicine
                                Johns Hopkins University School of Medicine
                1999-2003       Instructor, Physician in Society
                                Medical Student Curriculum 2nd Year
                                Johns Hopkins University School of Medicine
                1999-2003       Course Instructor, Decision Analysis
                                Johns Hopkins University School of Public Health
                2005-2008       "Cost-effectiveness and decision analysis" in Epidemiology for 1st
                                year medical students
                2006-2016       Preceptor, Doctoring Course
                2007-2008       Guest Lecturer, Health Care Management Undergraduate course
                2008-2020       Course Director, Frontiers Course for 4th year medical students,
                                "Science of Quality"
                2016-2020       Small Group Preceptor, Health Care Systems, Perelman School of
                                Medicine,

Lectures by Invitation:
                  Jan, 1999      "Preoperative cardiac evaluation" - Department of Anesthesia,
                                 Mount Sinai School of Medicine, New York, NY
                 Jan, 1999       "Risk of anesthesia" - Department of Anesthesia, Jefferson Medical
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                          College, Philadelphia, PA
              Feb, 1999   "Risk of anesthesia" - Department of Anesthesia, University of
                          Michigan, Ann Arbor, MI
              Mar, 1999   "Cardiac risk of noncardiac surgery" - Mini-Course, American
                          College of Cardiology 48th Annual Scientific Session, New Orleans,
                          Louisiana
              Apr, 1999   "Outcomes evaluation/measurement in cardiac surgery" - Scientific
                          Program Committee, Society of Cardiovascular Anesthesia Annual
                          Meeting, Chicago, IL
              Apr, 1999   "Outcome measure for ambulatory anesthesia" - Society for
                          Ambulatory Anesthesia Annual Meeting, Chicago, IL
              May, 1999   "Meet the experts: coronary disease and surgical emergencies" - 33a
                          Jornada Paulista de Anestesiologia by the Sociedade de
                          Anestesiologia do Estado de Sao Paulo, Sao Paulo, Brazil
              May, 1999   "Preoperative assessment of the patient with cardiovascular disease"
                          - 33a Jornada Paulista de Anestesiologia by the Sociedade de
                          Anestesiologia do Estado de Sao Paulo, Sao Paulo, Brazil
              May, 1999   "Preoperative cardiac evaluation" - Department of Anesthesia,
                          Sunnybrook Health Science Center, Toronto, Canada
              Jun, 1999   "Perioperative aschemia: is it a bad thing?" - 2nd Annual
                          Cardiothoracic Update, Hilton Head, SC
              Sep, 1999   "Risk of anesthesia" - Department of Anesthesia, Emory University,
                          Atlanta, GA
              Nov, 1999   "Preoperative assessment" - 1999 Survey of Current Issues in
                          Surgical Anesthesia, Cleveland, OH
              Dec, 1999   "Impact of economic pressures on anesthesia training and practice" -
                          Winter College Lecture, Royal College of Anaesthetists, Dublin,
                          Ireland
              Jan, 2000   "Evidence based anesthesia care: the high risk cardiac patient" -
                          Department of Anesthesia, New York University, New York, NY
              Feb, 2000   "Evidence based anesthesia care: the high risk cardiac patient" -
                          Department of Anesthesia, SUNY at Stony Brook, Stony Brook, NY
              Mar, 2000   "Heart rate variability as a measure of system complexity" -
                          Japanese Society of Intensive Care Management, Nagoya, Japan
              Mar, 2000   "Anesthetic management of the cardiac patient undergoing
                          noncardiac surgery" - Japanese Society of Intensive Care
                          Management, Nagoya, Japan
              May, 2000   "Risk of readmission after ambulatory surgery by location of care:
                          analysis of Medicare claims" - Society of Ambulatory Anesthesia
                          Annual Meeting, Washington, D.C.
              Jun, 2000   "Strategies to reduce cardiac risk of noncardiac surgery" -
                          Department of Anesthesia, Duke University, Durham, NC
              Jul, 2000   "Does anything reduce cardiac complications of noncardiac surgery"
                          - Georgia Society of Anesthesiology, Amelia Island, FL
              Sep, 2000   "Preoperative cardiac evaluation" - Department of Anesthesia,
                          SUNY at Buffalo, Buffalo, NY
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              Sep, 2000   "Risk of anesthesia" - Yale Anesthesia Alumni Foundation Lecture,
                          New Haven, CT
              Sep, 2000   "Preoperative cardiac evaluation" - Department of Anesthesia,
                          Campus University Hospital Gasthuisberg, Leuven, Belgium
              Sep, 2000   "Strategies to reduce cardiac risk of noncardiac surgery" -
                          Department of Anesthesia, Yale University, New Haven, CT
              Oct, 2000   "Data mining: Medicare and beyond." - Panel for the Foundation for
                          Anesthesia Education and Research, American Society of
                          Anesthesiologists Meeting, San Francisco, CA
              Oct, 2000   "Strategies to reduce the risk of anemia" - Symposium on
                          Hemostatis and Transfusion, Graz, Austria
              Oct, 2000   "Risk of outpatient surgery: analysis of Medicare claims" - Panel on
                          Risk of Anesthesia, American Society of Anesthesiologists meeting,
                          San Francisco, CA
              Nov, 2000   "Strategies to reduce cardiac risk of noncardiac surgery" -
                          Department of Anesthesia, University of Rochester, Rochester, NY
              May, 2001   "Patients with CAD" - Panel on Difficult Medical Patients, Society
                          of Ambulatory Anesthesia, Palm Desert, CA
              Jun, 2001   "Strategies to reduce cardiac risk of noncardiac surgery" -
                          Department of Anesthesia, Washington University in St. Louis, St.
                          Louis, MO
              Sep, 2001   "Strategies to reduce cardiac risk of noncardiac surgery" -
                          Department of Anesthesia, University of Medicine and Dentistry of
                          New Jersey, Newark, NJ
              Sep, 2001   "Strategies to reduce cardiac risk of noncardiac surgery" -
                          Department of Medicine, University of Medicine and Dentistry of
                          New Jersey, Newark, NJ
              Nov, 2001   "Preoperative cardiac evaluation" - University of Chicago,
                          Department of Anesthesiology and Critical Care Medicine Annual
                          Meeting, Chicago, IL
              Nov, 2001   "Risks of outpatient surgery" - University of Chicago, Department of
                          Anesthesiology and Critical Care Medicine Annual Meeting,
                          Chicago, IL
              Dec, 2001   "Does preoperative screening improve anesthetic outcome?" - Panel
                          on Preoperative Testing - Are There Any Standards?, Postgraduate
                          Assembly in Anesthesiology, New York, NY
              Dec, 2001   "Perioperative management of the high risk patient for non-cardiac
                          surgery" - Panel on How has Research Changed Your Clinical
                          Practice?, Postgraduate Assembly in Anesthesiology, New York,
                          NY
              Apr, 2002   "Recent developments in perioperative stress protection in non-
                          cardiac surgery" - Symposium at the 10th ESA Anniversary
                          Meeting, 24th EAA Annual Meeting, Nice, France
              Apr, 2002   "Application of the AHA/ACC guidelines to the elderly ambulatory
                          patient" - Society of Ambulatory Anesthesia Annual Meeting,
                          Orlando, FL
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              Apr, 2002   "The patient with ischemic heart disease undergoing arthroscopic
                          surgery" - PBLD at the Society of Ambulatory Anesthesia Annual
                          Meeting, Orlando, FL
              May, 2002   "Strategies to reduce cardiac risk of noncardiac surgery" -
                          Department of Anesthesia, Western Pennsylvania Hospital,
                          Pittsburgh, PA
              May, 2002   "Strategies to reduce cardiac risk of noncardiac surgery" -
                          Department of Anesthesia, Northwestern University Medical Center,
                          Chicago, IL
              Aug, 2002   "Strategies to reduce cardiac risk of noncardiac surgery" -
                          Department of Anesthesia, University of Illinois at Chicago,
                          Chicago, IL
              Aug, 2002   "Strategies to reduce cardiac risk of noncardiac surgery" -
                          Department of Anesthesia, Rush-Presbyterian Medical Center,
                          Chicago, IL
              Sep, 2002   "Strategies to reduce cardiac risk of noncardiac surgery" -
                          Department of Anesthesia, University of California at Los Angeles,
                          Los Angeles, CA
              Oct, 2002   "Preoperative assessment of the patient with cardiac disease" -
                          American Society of Anesthesiologists Annual Meeting, Orlando,
                          FL
              Oct, 2002   "Preoperative testing: how should I apply the update to the
                          AHA/ACC perioperative cardiovascular evaluation guidelines and
                          the ASA advisory on preanesthetic evaluation?" - Panel Moderator,
                          American Society of Anesthesiologists Annual Meeting, Orlando,
                          FL
              Oct, 2002   "Risk of anesthesia (and surgery) in the outpatient setting: the
                          importance of patient, surgery and location of care" - Keynote
                          lecture, Society of Ambulatory Anesthesia Annual Meeting,
                          Orlando, FL
              Oct, 2002   "Risk of undertransfusion" - American Academy of Blood Bankers,
                          Orlando, FL
              Nov, 2002   "The role of searching and evaluating the literature to ensure patient
                          safety in clinical research: practices and protocol" - Panel, AMIA
                          2002 Symposium, San Antonio, TX
              Dec, 2002   "Cost analysis in cardiac surgery" - Panel, New York State Society
                          of Anesthesiologists Postgraduate Assembly, New York, NY
              Dec, 2002   "Evidence-based medicine: perioperative beta-blockers" - Robertazzi
                          Memorial Panel, 56th Postgraduate Assembly in Anesthesiology,
                          New York, NY
              Dec, 2002   "Evidence-based medicine: perioperative beta blockers" -
                          Rovenstein Panel, New York State Society of Anesthesiologists
                          Postgraduate Assembly, New York, NY
              Jan, 2003   "Strategies to reduce cardiac risk of noncardiac surgery" -
                          Department of Medicine, University of Florida, Gainesville, FL
              Jan, 2003   "Strategies to reduce cardiac risk of noncardiac surgery" -
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                          Departments of Surgery and Anesthesia, University of Florida,
                          Gainesville, FL
              Mar, 2003   "Optimizing perioperative outcomes" - Refresher Course, IARS 77th
                          Clinical and Scientific Congress, New Orleans, LA
              Mar, 2003   "Operating room management" - Panel, IARS 77th Clinical and
                          Scientific Congress, New Orleans, LA
              Jun, 2003   "Risk of anesthesia" - Department of Anesthesia, Oxford University,
                          Oxford, UK
              Sep, 2003   "Strategies to reduce cardiac risk of noncardiac surgery" -
                          Department of Anesthesia, University of Colorado, Boulder, CO
              Sep, 2003   "Risk of Anesthesia: Does location of care matter?" - Department of
                          Anesthesiology, The Geffen School of Medicine at UCLA, Los
                          Angeles, CA
              Sep, 2003   "Cardiac patient presenting for aortic aneurysm resection." -
                          Department of Anesthesiology, The Geffen School of Medicine at
                          UCLA, Los Angeles, CA
              Sep, 2003   "Risk of anesthesia: Are we still safe in outpatient surgery?",
                          Colorado Society of Anesthesiologists, Denver, CO.
              Oct, 2003   "How old is too old? Risk in the geriatric patient" - Society of
                          Ambulatory Anesthesia Mid-Year Meeting, San Francisco, CA
              Oct, 2003   "Tailoring the preop to the procedure: the evidence" - SAMBA
                          Breakfast Panel on Whom Do We Invite to Our Party?: How and
                          why the preoperative evaluation of surgical outpatients is different.,
                          American Society of Anesthesiologists Annual Meeting, San
                          Francisco, CA
              Oct, 2003   "Differences in outcomes from surgery performed in physicians
                          offices and ambulatory surgery centers" - Panel on the Surgeon
                          Anesthesia Supervisor: How much do they need to know, how is it
                          evaluated, and why do we care?, American Society of
                          Anesthesiologists Annual Meeting, San Francisco, CA
              Oct, 2003   "Which patients need what coronary evaluation before carotid
                          endarterectomy?" - Panel on Carotid Endarterectomy: What
                          preoperative evaluation?; What anesthetic technique (regional or
                          GA)?; What neurologic monitoring?, American Society of
                          Anesthesiologists Annual Meeting, San Francisco, CA
              Oct, 2003   "Evidence based medicine: perioperative interventions" - Panel on
                          Evidence-Based Medicine in Anesthesiology, American Society of
                          Anesthesiologists Annual Meeting, San Francisco, CA
              Oct, 2003   "Preoperative assessment of the patient with cardiac disease" -
                          American Society of Anesthesiologists Annual Meeting, San
                          Francisco, CA
              Oct, 2003   "What do I do with a positive stress test result" - Panel Moderator on
                          High-Risk Patients Undergoing Noncardiac Surgery: What do I do
                          about the results of preoperative testing, perioperative testing,
                          perioperative beta-blockers and pacemakers?, American Society of
                          Anesthesiologists Annual Meeting, San Francisco, CA
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              Dec, 2003   "Vascular Surgery" - Focus Session on What should change our
                          clinical practice? Evidence based medicine: Here to stay., 57th
                          Postgraduate Assembly in Anesthesiology, New York, NY
              Dec, 2003   "What should change our clinical practice? Evidence based
                          medicine: Here to stay.", Panel Moderator, 57th Postgraduate
                          Assembly in Anesthesiology, New York, NY
              Apr, 2004   "Preoperative cardiac risk assessment and risk reduction" - Royal
                          College of Physicians and Surgeons of Canada, Toronto, Canada
              Apr, 2004   "Strategies to reduce cardiac risk of noncardiac surgery"- Meet the
                          experts. World Congress of Anesthaesiologists. Paris, Fr.
              Apr, 2004   "What is the most appropriate monitoring for perioperative
                          myocardial ischaemia ?"- World Congress of Anaesthesiologists.
                          Paris, Fr
              May, 2004   "Strategies to reduce cardiac risk of noncardiac surgery"- British
                          Cardiac Society. Manchester, England
              Jun, 2004   "Risk of anesthesia: importance of location of care"- Ali Gharib
                          Lecture. Department of Anesthesia. Case Western Reserve
                          University School of Medicine
              Sep, 2004   "Strategies to reduce cardiac risk for vascular surgery" - Vascular
                          Anaesthesia Society of Great Britain and Ireland. Cambridge,
                          England
              Sep, 2004   "Strategies to reduce cardiac risk for vascular surgery"- Vascular
                          Anaesthesia Scoiety of Great Britain and Ireland, Oxford, England
              Oct, 2004   "When is Preoperative Testing Worth the Money?" for Panel on The
                          Economics of the Preoperative Process- American Society of
                          Anesthesiologists Annual Meeting, Las Vegas, NV
              Oct, 2004   "Current State of the Evidence of Beta-Blockers" for Panel on So the
                          Hospital Mandates a Beta-blocker Protocol, but How do I Implement
                          One?- American Society of Anesthesiologists Annual Meeting, Las
                          Vegas, NV
              Oct, 2004   "Preoperative Assessment of the Patient with Cardiac Disease" -
                          ASA Refresher Course, American Society of Anesthesiologists
                          Annual Meeting, Las Vegas, NV
              Oct, 2004   "Preoperative Cardiac Evaluation of the Endovascular Stent" for
                          Panel on New Fronteirs in Vascular Surgery: Not Office-based ...
                          Yet- American Society of Anesthesiologists Annual Meeting, Las
                          Vegas, NV
              Dec, 2004   "Improving perioperative outcomes: what's the role of the
                          government and other specialty societies?" Panel on To Err is
                          Human: are our patients safe? Postgraduate Assembly of the New
                          York State Society of Anesthesiologists. New York, NY
              Mar, 2005   "Is outcome research a waste of time?" - 25th Myron B. Laver
                          International Postgraduate Course, Basel, Switzerland
              Mar, 2005   "Preoperative patient evaluation" - 25th Myron B. Lavar
                          International Postgraduate Course, Basel, Switzerland
              Mar, 2005   "Cardiovascular risk of vascular surgery" - International Anesthesia
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                          Research Society Annual Meeting, Honolulu, HI
              Apr, 2005   "Cardiac Risk and Beta-Blockade" - Controversies in Adult and
                          Pediatric Anesthesia, HUP/CHOP Symosium, Philadelphia, PA
              Apr, 2005   "Strategies to Reduce Cardaic Risk of Noncardiac Surgery"-
                          Lancaster General Hospital, Lancaster, PA
              Apr, 2005   "Is Outcomes Research a Waste of Time? Debunking dogma with
                          data"- SUNY at Downstate, Brooklyn, NY
              May, 2005   "Surgical Risk Reduction" at Society of Ambulatory Anesthesia
                          Annual Meeting, Scottsdale, AZ
              May, 2005   "Academic Practice" on Panel for Resident Component - Society of
                          Ambulatory Anesthesia Annual Meeting, Scottsdale, AZ
              May, 2005   "Strategies to Reduce Cardiac Risk of Noncardiac Surgery"-
                          Reading Hospital, Reading, PA
              Oct, 2005   "Clinical Forum on cards consult? Revascularization or just beta
                          blockers"- American Society of Anesthesiologists Annual Meeting,
                          Atlanta, GA
              Oct, 2005   Preoperative evaluation, Panel on Diabetes Update: The Inpatient,
                          the Outpatient and the Non-Patient"- American Society of
                          Anesthesiologists Annual Meeting, Atlanta, GA
              Oct, 2005   "Perioperative beta-blockade- Panel on Strategies to reduce cardiac
                          risk of noncardiac surgery- but I thought we knew the answers!"-
                          American Society of Anesthesiologists Annual Meeting, Atlanta,
                          GA
              Oct, 2005   "Preoperative Cardiac Assessment"- American Society of
                          Anesthesiologists Annual Meeting, Atlanta, GA
              Oct, 2005   Preoperative evaluation, Panel on Diabetes Update: The Inpatient,
                          the Outpatient and the Non-Patient"- American Society of
                          Anesthesiologists Annual Meeting, Atlanta, GA
              Oct, 2005   "Is outcomes research a waste of time?" Orkin Memorial Lecture,
                          Montefiore Hospital, Bronx, NY
              Dec, 2005   "Strategies to reduce cardiac risk of noncardiac surgery"-
                          Department of Anesthesiology, University of Virginia,
                          Charlottesville, VA
              Dec, 2005   "Risk of anesthesia: importance of location of care"- Department of
                          Anesthesiology, University of Virginia, Charlottesville, VA
              Dec, 2005   "Wading through the American Colleg of Cardiology/American
                          Heart Association Algorithm", Panel of Using practice guidelines to
                          improve outcome: what the clinician needs to know. Postgraduate
                          Assembly of Anesthesiology. New York, NY
              Dec, 2005   "How can I imporve organ protection during surgery?: Protecting
                          the heart" Postgraduate Assembly in Anesthesiology, New York,
                          NY
              Feb, 2006   "Preoperative cardiac evaluation and management" Neurosurgical
                          Grand Rounds, University of Pennsylvania
              Apr, 2006   "Strategies to reduce cardiac risk of noncardiac surgery"
                          Pennsylvania Association of Nurse Anesthetists Annual Meeting.
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                          Hershey, PA
              Apr, 2006   "Risk of anesthesia in the outpatient setting" Pennsylvania
                          Association of Nurse Anesthetists Annual Meeting. Hershey, PA
              May, 2006   "Pharmacologic management to reduce perioperative myocardial
                          infarction" Panel on Best practices in cardiac surgery. Society of
                          Cardiovascular Anesthesiologists Annual Meeting. San Diego, CA
              May, 2006   "From student to mentor and chair: _my journey to return to the
                          University of Pennsylvania" Duke Anesthesiology Academic
                          Evening. Duke University. Durham, NC
              May, 2006   "Strategies to reduce cardiac risk of noncardiac surgery"-
                          Department of Anesthesiology, Duke University, Durham, NC
              May, 2006   "Strategies to reduce cardiac risk of noncardiac surgery"
                          Departments of Anesthesiology, Surgery and Cardiology.
                          University of Cincinnati. Cincinnati, OH
              May, 2006   Guidelines, P4P, and Improving Care. University of Cincinnati
                          Department of Anesthesiology, Cincinnati, OH
              Jun, 2006   "Multicenter trials to improve care- noncardiac surgery" European
                          Society of Anesthesiologists, Madrid, Spain
              Jun, 2006   "Guidelines, P4P, and improving care". Department of Anesthesia
                          and Perioperative Care, University of California San Francisco, San
                          Francisco, CA
              Sep, 2006   "Cardiac Risk Stratification and Risk Reduction for Non-Cardiac
                          Surgery in 2006", 2nd Annual Perioperative Medicine Summit,
                          Cleveland, OH
              Sep, 2006   "Strategies to reduce cardiac risk of noncardiac surgery",
                          Department of Medicine Grand Rounds, University of Pennsylvania
                          School of Medicine, Philadelphia, PA
              Oct, 2006   "Preoperative cardiac evaluation"- American Society of
                          Anesthesiologists, Chicago, IL
              Nov, 2006   "Strategies to reduce cardiac risk of noncardiac surgery"- University
                          of California at San Diego, San Diego, CA
              Feb, 2007   "Strategies to reduce cardiac risk of noncardiac surgery"-
                          Department of Anesthesiology and Critical Care, University of
                          Miami, Miami, FL
              Feb, 2007   "Guidelines, P4P and Improving Perioperative Care"- Department of
                          Anesthesiology and Critical Care, University of Miami, Miami, FL
              Feb, 2007   "Strategies to reduce cardiac risk of noncardiac surgery"-
                          Englewood Hospital, Englewood, NJ
              Mar, 2007   "Analyzing retrospective data: the clinical implications of statistical
                          methods"- International Anesthesia Research Society Annual
                          Meeting, Orlando, FL
              Apr, 2007   "The new AHA/ACC Guidelines on Beta-Blockade" Society of
                          Cardiovascular Annesthesiologists Annual Meeting. Montreal
              May, 2007   "Guidelines, P4P and improving perioperative outcome" Beth-
                          Israel Deaconess Medical Center, Boston, MA
              Jun, 2007   "Pharmacologic reduction in perioperative myocardial infarction",
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                          European Society of Anesthesiologists Annual Meeting, Munich,
                          Germany
              Jun, 2007   "Strategies to reduce cardiac risk for noncardiac surgery",
                          Department of Anesthesiology and Perioperative Medicine, Oregon
                          Health Sciences University
              Jun, 2007   "How will clinical trials influence practice guidelines and pay for
                          performance", European Society of Anesthesiologists, Munich,
                          Germany
              Jun, 2007   "The cardiac risk patient-what is new?" European Society of
                          Anesthesiologists, Munich, Germany
              Nov, 2007   "Strategies to reduce cardiac risk for noncardiac surgery"
                          Department of Anesthesiology, Washington University in St. Louis,
                          St. Louis, MO
              Nov, 2007   "Risk of outpatient surgery: analysis of medicare claims"
                          Department of Anesthesiology, Washington University in St. Louis,
                          St. Louis, MO
              Nov, 2007   "Strategies to reduce cardiac risk of noncardiac surgery"
                          Departments of Anesthesiology and Surgery, Atlantic City Regional
                          Medical Center, Atlantic City, NJ
              Nov, 2007   "Did the AHA/ACC Guidelines really say that?" EM Papper
                          Annual Lecture. Columbia University School of Medicine
                          Department of Anesthesiology, New York, NY
              Nov, 2007   "Risk of anesthesia in the outpatient setting: Using of claims data"
                          Columbia University School of Medicine Department of
                          Anesthesiology, New York, NY
              Dec, 2007   "Outcome-Measures" Focus session on How do we demonstrate
                          quality?. Postgraduate Assembly in Anesthesiology, New York,
                          NY
              Dec, 2007   "Outcomes" in Panel on Practice management issues: P4P and other
                          things I better know about. Postgraduate Assembly in
                          Anesthesiology, New York, NY
              Jan, 2008   "Strategies to reduce cardiac risk of noncardiac surgery", Detroit
                          Medical Center Department of Anesthesiology
              Feb, 2008   "Strategies to reduce cardiac risk of noncardiac surgery", Yale
                          University School of Medicine Department of Anesthesiology, New
                          Haven, CT
              Feb, 2008   "Guidelines, P4P, and Improving Perioperative Care", Yale
                          University School of Medicine Department of Anesthesiology, New
                          Haven, CT
              Mar, 2008   "Perioperative beta-blockade", Panel of Guidelines on Perioperative
                          Cardiovacular Evaluation, American College of Cardiology Annual
                          Meeting, Chicago, IL
              Mar, 2008   "Rolling the Dice: the wise use of statistics", Panel on Publication
                          Roulette, IARS Annual Meeting, San Francisco, CA
              Mar, 2008   "Did the AHA/ACC Guidelines really say that?" IARS Annual
                          Meeting, San Francisco, CA
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              Apr, 2008   "Perioperative cardiovascular evaluation guidelines"
              Apr, 2008   "Perioperative Cardiac Guidelines", Society of Hospital Medicine
                          Annual Meeting, San Diego, CA
              May, 2008   "Have we pushed office-based surgery too far?", Society of
                          Ambulalatory Anesthesia Annuall Meeting, Miami, FL
              Jun, 2008   "Strategies to reduce cardiac risk of noncardiac surgery", Seoul
                          National Hospital 50th Department of Anesthesiology and Pain
                          Medicine Anniversary Meeting, Seoul, Korea
              Jun, 2008   "Strategies to reduce cardiac risk of noncardiac surgery"
                          Departments of Anesthesiology and Surgery Grand Rounds, Medical
                          University of South Carolina, Charleson, SC
              Jul, 2008   "ACC/AHA Guidelines on Perioperative Cardiovascular
                          Evaluation", Evidence Based Perioperative Medicine Meeting 2008,
                          London, England
              Jul, 2008   "Pay-4-Performance, the US perspective", Evidence Based
                          Perioperative Medicine Meeting 2008, London, England
              Oct, 2008   "Preoperative assessment of the patient with cardiac disease",
                          American Society of Anestheisologists Annual Meeting, Orlando,
                          FL
              Oct, 2008   "Who gets revascularization and how? Update on the Guidelines for
                          preoperative evaluation of the noncardiac surgical patient"
                          American Society of Anestheisologists Annual Meeting, Orlando,
                          FL
              Oct, 2008   "The diabetic patient undergoing noncardiac surgery: what should
                          we do from a cardiac evaluation standpoint?" Panel on
                          Management of the diabetic patient. American Society of
                          Anestheisologists Annual Meeting, Orlando, FL
              Oct, 2008   "Can we really improve performance?" Panel on Avoiding
                          performance anxiety. American Society of Anestheisologists
                          Annual Meeting, Orlando, FL
              Oct, 2008   "From student to mentor and chair: _my journey to return to the
                          University of Pennsylvania" Foundation for Anesthesia Education
                          and Research Scholar Presentation
              Nov, 2008   "Postoperative care for the bariatric surgery patient" Panel on The
                          Morbidly Obese Patient. American Heart Association Annual
                          Meeting, New Orleans, LA
              Nov, 2008   "Heart disease in the cardiac patient before noncardiac surgery."
                          Panel on Clinical Challenges in Daily Practice and Case-Based
                          Applications of Recent Guidelines I, American Heart Association
                          Annual Meeting, New Orleans, LA
              Nov, 2008   "Strategies to reduce cardiac risk for noncardiac surgery", St. Joseph
                          Medical Center, Towson, MD
              Jan, 2009   "Strategies to reduce cardiac risk of noncardiac surgery" University
                          of Maryland, Baltimore, MD
              Jan, 2009   "Guidelines, P4P and improving perioperative care" University of
                          Maryland, Baltimore, MD
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              Jan, 2009   "Strategies to reduce cardiac risk of noncardiac surgery: Update on
                          the AHA/ACC Guidelines", Department of Anesthesiology,
                          University of Miami School of Medicine, Miami, FL
              Feb, 2009   "Strategies to reduce cardiac risk of noncardiac surgery: Update on
                          the AHA/ACC Guidelines", 4th Annual Perioperative Medicine
                          Summitt, Miami Beach, FL
              Mar, 2009   "How do different forms of anesthesia play a role", Panel on
                          Preoperative Cardiac Evaluation, American College of Cardiology
                          Annual Meeting, Orlando, FL
              Mar, 2009   "Choice of Anesthesia and Outcome", Panel on perioperative
                          cardiovascular care for noncardiac surgery, American College of
                          Cardiology Annual Meeting, Orlando, FL
              Mar, 2009   "Improving perioperative care: Guidelines, P4P, and Quality
                          Measures", Department of Anesthesiology, University of Michigan
                          School of Medicine, Ann Arbor, MI
              Mar, 2009   "Strategies to reduce cardiac risk of noncardiac surgery",
                          Department of Anesthesiology, Cardiovascular Medicine Institute,
                          University of Michigan School of Medicine, Ann Arbor, MI
              Apr, 2009   "Perioperative cardiovascular evaluation before noncardiac surgery",
                          Cardiology Update 2009, University of Pennsylvania School of
                          Medicine, Absecon, NJ
              Apr, 2009   "Evidence based medical management of the patient undergoing
                          noncardiac surgery", Society of Cardiovascular Anesthesiologists
                          Annual Meeting, San Antonio, TX
              Apr, 2009   "Surgical Care Improvement Project: Target for the CT
                          anesthesiologist", Society of Cardiovascular Anesthesiologists
                          Annual Meeting, San Antonio, TX
              May, 2009   "Strategies to reduce cardiac risk of noncardiac surgery" Stengart
                          Lecture, University of California at Davis, Sacramento, CA
              Jun, 2009   "Strategies to reduce cardiac risk of noncardiac surgery", Canadian
                          Anesthesiologists' Society Annual Meeting, Vancouver, Canada
              Jul, 2009   "Improving Perioperative outcomes: risk assessment, patient
                          preferences and performance measures", Evidence Based
                          Perioperative Outcomes Meeting, London, England
              Jul, 2009   "Improving Perioperative outcomes: risk assessment, patient
                          preferences and performance measures", Massachussets General
                          Hospital, Boston, MA
              Jul, 2009   "Strategies to reduce cardiac risk of noncardiac surgery: An update
                          to the AHA/ACC Guidelines" Massachussetts General Hospital,
                          Boston, MA
              Aug, 2009   "Strategies to reduce cardiac risk of noncardiac surgery", University
                          of Alabama Department of Anesthesiology, Birmingham, AL
              Oct, 2009   Preoperative cardiac assessment for noncardiac surgery" American
                          Society of Anesthesiologists Annual Meeting. New Orleans, LA
              Oct, 2009   "Preoperative cardiac evaluation for noncardiac surgery" in Panel on
                          Preparing the cardiac patient for noncardiac surgery. American
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                          College of Surgeons Annual Meeting, Chicago, IL
              Oct, 2009   "Improving perioperative outcomes: my journey into Risk
                          Assessment, Patient Preferences and Performance Measures"
                          Foundation for Anesthesia Education and Research Honorary
                          Research Lecture. American Society of Anesthesiologists Annual
                          Meeting. New Orleans
              Nov, 2009   "How to deal with sudden death in your department", Society of
                          Academic Anesthesiology Assocations Annual Meeting, Boston,
                          MA
              Dec, 2009   "Anesthesiologist: Measure thyself", Rovenstine Honorary Lecture
                          at the PGA, New York, NY
              Apr, 2010   "New insights: the latest data on perioperative outcome and
                          anesthesiology practice". Society of Cardiovascular
                          Anesthesiologists Annual Meeting. New Orleans, LA
              Apr, 2010   "Strategies to reduce cardiac risk for noncardiac surgery." Australia
                          and New Zealand College of Anaesthetists Annaul Meeting.
                          Christchurch, NZ
              Apr, 2010   "Risks of outpatient surgery". Day Surgery Conference, Australian
                          and New Zealand College of Anaesthetists, Christchurch, NZ
              Apr, 2010   "The Institute of Medicine Evidence for limiting resident duty
                          hours". Association of University Anesthesiologists Annual
                          Meeting. Denver, CO
              May, 2010   "Improving perioperative outcomes". Day Surgery Conference,
                          Australian and New Zealand College of Anaesthetists, Christchurch,
                          NZ
              Jul, 2010   "Risks of Outpatient Surgery", Evidence Based Perioperative
                          Outcomes Meeting, London, England
              Sep, 2010   "Strategies to reduce cardiac risk for noncardiac surgery." Walters
                          Visiting Professor, University of Wisconsin, Madison, WI
              Sep, 2010   "Development of EB Guideline into Practice: AHA/ACC
                          Guideline" International Congress of Cardiovascular and Vascular
                          Anesthesia, Beijing, CN
              Oct, 2010   "Preoperative cardiac evaluation for noncardiac surgery" American
                          Society of Anesthesiologists Annual Meeting, San Diego, CA
              Oct, 2010   "Evidence supporting performance measurement and outcome". IN
                          Panel on Performance Anxiety. American Society of
                          Anesthesiologists Annual Meeting, San Diego, CA
              Nov, 2010   "Clinical research in anesthesiology" Beijing, Shanghai,
                          Guongzhou, Chonquin, CN
              Nov, 2010   "Preoperative cardiac evaluation" University of Florida,
                          Gainseville, FL
              Mar, 2011   "Preoperative Cardiac Risk Assessment: Implementing the
                          Guidelines into Practice" Perioperative Medicine Summitt 2011,
                          Miami, FL
              Mar, 2011   Panel on "Faculty leaders: how we were prepared for the leadership
                          challenges we face; the leadership skills our successors will need"
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                          Council of Academic Specialties Annual meeting, American
                          Association of Medical Colleges, Providence, RI
              Mar, 2011   "Optimizing perioperative outcomes: my journey into guidelines,
                          patient preferences and measurement", Crawford Long Lecture,
                          Emory University
              Apr, 2011   "Evidence-based medicine: how it should inform research and
                          care",International Anesthesia Research Forum, Xi'An, CH
              Apr, 2011   "How to look at data", "Is my paper important", "What reviewer and
                          editors are looking for", Workshop on how to write a clinical paper,
                          Xi'an, CH
              Apr, 2011   "Strategies to reduce cardiac risk of noncardiac surgery",
                          Anesthesiology and Critical Care Forum, Xi'An, CH
              May, 2011   "Optimizing Perioperative Outcomes: Risk Assessment, Patient
                          Preferences and Performance Measures", Shields Lecture,
                          University of Toronto, Toronto, CA
              May, 2011   "Cardiac risk stratification for non cardiac surgery: an update",
                          Simposio Mostra Anestesia Rianimazion E Terapia Intensiva, Milan,
                          IT
              May, 2011   "Cardiac risk stratification for non cardiac surgery: an update",
                          Simposio Mostra Anestesia Rianimazion E Terapia Intensiva, Milan,
                          IT
              May, 2011   "Cardiac risk stratification for non cardiac surgery: an update",
                          Simposio Mostra Anestesia Rianimazion E Terapia Intensiva, Milan,
                          IT
              May, 2011   "Perioperative medicine and perioperative outcomes: a personal
                          overview ", Simposio Mostra Anestesia Rianimazion E Terapia
                          Intensiva, Milan, IT
              May, 2011   "Perioperative strokes and beta-blockade ", Simposio Mostra
                          Anestesia Rianimazion E Terapia Intensiva, Milan, IT
              Jul, 2011   "Biomarkers", Evidence Based Perioperative Medicine Annual
                          Meeting, London, England
              Jul, 2011   "Improving Perioperative Outcomes", Evidence Based Perioperative
                          Medicine Annual Meeting, London, England
              Oct, 2011   "Improving Perioperative Outcomes", University of California,
                          Irvine, CA
              Oct, 2011   "Preoperative cardiac evaluation for noncardiac surgery" American
                          Society of Anesthesiologists Annual Meeting, Chicago, IL
              Oct, 2011   "The future of perioperative quality measurement in the landscape of
                          health reform" in Panel on Quality mesurement and reporting in
                          anesthesiology and perioperative care: current controversies and
                          future directions. American Society of Anesthesiologists Annual
                          Meeting, Chicago
              Mar, 2012   "Care in the era of Healthcare reform: our role in the value
                          proposition" Eliasberg Lecture, Department of Anesthesiology,
                          Mount Sinai School of Medicine, New York, NY
              Mar, 2012   "Strategies to reduce cardiac risk of noncardiac surgery: an update"
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                          Perioperative Medicine Summit, Miami, FL
              Apr, 2012   "Academia and HCR: What does it mean for all 3 missions?" in
                          Panel on Practice Management: From Private to Academics: Advice
                          from the Top in Healthcare Reform Climate. Society of
                          Cardiovascular Anesthesiologists, Boston, MA
              May, 2012   "A personal journey into improving outcome" Keynote lecture at
                          Cardiac Disease and Anaesthesia Symposium, Royal College of
                          Anaesthetists, London, England
              May, 2012   "Strategies to reduce cardiac risk of noncardiac surgery" Kampine
                          Honoary Lecture, Medical College of Wisconsin, Milwaukee, WI
              May, 2012   "Care in the era of Healthcare reform: _our role in the value
                          proposition", Medical College of Wisconsin, Milwaukee, WI
              Jun, 2012   "Preoperative Cardiac Evaluation for Noncardiac Surgery"
                          Brigham & Women's Hospital, Boston, MA
              Jul, 2012   "Care in the era of Healthcare reform: _our role in the value
                          proposition", Massachusetts General Hospital, Boston MA
              Aug, 2012   "Care in the era of U.S. Healthcare reform: _what will drive
                          anesthesia staffing?" in University of Pennsylvania-Chinese Society
                          of Anesthesiologists Communication Forum, Chongqing, China
              Sep, 2012   "Guidelines and performance measures: How do you apply the
                          evidence?".      UCSF The Changing Practice Of Anesthesia 2012.
                          San Francisco, CA
              Sep, 2012   "Value from anesthesia care: where do we influence the
                          outcome/cost equation in medicine?: UCSF The Changing
                          Practice Of Anesthesia 2012. San Francisco, CA
              Oct, 2012   "How we improve quality" on FAER Panel on The Science of
                          Quality Improvement: What Leads to Improvement. American
                          Society of Anesthesiologists Annual Meeting. Washington, DC
              Oct, 2012   "AHA/ACC Guideline Update for Preoperative Evaluation and
                          Testing in Non-cardiac Surgery" on Panel on Cardiovascular
                          Guidelines: Update for the Patient with Cardiac Disease. American
                          Society of Anesthesiologists Annual Meeting. Washington, DC
              Oct, 2012   "Preoperative Cardiac Evaluation for Noncardiac Surgery".
                          American Society of Anesthesiologists Annual Meeting.
                          Washington, DC
              Oct, 2012   "Pro: Beta-blockers P4P" on Pro/Con for Does Preoperative Beta-
                          blockade help and should be a P4P Measure. American Society of
                          Anesthesiologists Annual Meeting. Washington, DC
              Apr, 2013   "PRO: PERFORMANCE MEASUREMENT: DOES IT
                          MATTER?", Association of University Anesthesiologists, Miami,
                          FL
              Apr, 2013   "Bundled care and cardiac surgery:_what does it mean?", Society of
                          Cardiovascular Anesthesiologists, Miami, FL
              May, 2013   "Preoperative cardiac evaluation-should we bother?", Keynote
                          lecture, Irish Congress of Anaesthesia 2013, Dublin
              May, 2013   "Perioperative beta-blockers and statins- what do we really know?",
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                          Irish Congress of Anaesthesia 2013, Dublin
              Jul, 2013   "Learning valuable lessons from large datasets!", Evidence-Based
                          Perioperative Medicine (EBPOM), London
              Jul, 2013   "Preoperative cardiac risk evaluation-where do we stand now?",
                          Evidence-Based Perioperative Medicine (EBPOM), London
              Oct, 2013   "Aspirin" on Panel on Perioperative cardiovascular and anti platelet
                          agents: which to take, which to stop? an update. American Society
                          of Anesthesiologists, San Francisco, CA
              Oct, 2013   "Perioperative cardiac arrests: what is the evidence". Journal
                          Symposium: cardiac arrest and resuscitation. American Society of
                          Anesthesiologists, San Francisco, CA
              Oct, 2013   "Implementation science" on FAER Panel: clinical research in
                          anesthesia. American Society of Anesthesiologists, San Francisco,
                          CA
              Oct, 2013   "The Economic Imperative for perioperative medicine" in Panel on
                          Perioperative medicine as the future of anesthesiology: why, who
                          and how. American Society of Anesthesiologists, San Francisco,
                          CA
              Oct, 2013   "One chair's perspective: using measures for departmental reporting
                          to CMS and other quality entities: leveraging the process to facilitate
                          resident's and faculty's understanding and involvement in quality" in
                          Panel on Performance measures, academic anesthesiology
                          departments and MOCA: Is there a way to synergize the impact?
                          American Society of Anesthesiologists, San Francisco, CA
              Oct, 2013   "PRO: Raising both the stakes and the bar: anesthesiologists and
                          surgeons sharing joint accountability for patient outcomes",
                          American Society of Anesthesiologists, San Francisco, CA
              Nov, 2013   "Preparing Felllows to be Faculty", Association of Anesthesiology
                          Specialty Program Directors, Philadelphia, PA
              Nov, 2013   "Importance of Health Policy Research to Academic Departments",
                          Society of Academic Anesthesiology Associations, Philadelphia, PA
              Feb, 2014   "Value in anesthesia: _when do we make a difference?", Asian
                          Australasian Congress of Anesthesiologists, Aukland, NZ
              Feb, 2014   "Evaluation of the cardiac patient for non-cardiac surgery", Asian
                          Australasian Congress of Anesthesiologists, Aukland, NZ
              Feb, 2014   "Beta-blockers and statin", Asian Australasian Congress of
                          Anesthesiologists, Aukland, NZ
              Apr, 2014   "The new guidelines on perioperative management of patients with
                          heart disease undergoing non cardiac surgery", Oxford University,
                          Oxford, England
              Apr, 2014   "The new guidelines on perioperative management of patients with
                          heart disease undergoing non cardiac surgery", Royal College of
                          Anaesthetists, London, England
              Jul, 2014   "Cardiac risk for non cardiac surgery", University of New Mexico,
                          Albuquerque, NM
              Oct, 2014   "Preoperative Cardiac Evaluation for Noncardiac Surgery",
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                          American Society of Anesthesiologists, New Orleans, LA
              Oct, 2014   "Why Are Process Measures Fading into the Night?", American
                          Society of Anesthesiologists Annual Meeting, New Orleans, LA
              Oct, 2014   "PRO: Performance Metrics are an Efficient Way to Promote
                          Enhanced Recovery", ERAS meeting at the ASA Annual Meeting,
                          New Orleans, LA
              Jan, 2015   "Improving perioperative outcomes: _Do we just need to apply the
                          evidence?", University of California at Los Angeles, Los Angeles,
                          CA
              Mar, 2015   "Improving Medical Care: The Importance of Measuring
                          Outcomes", Penn Wharton China Center Opening Symposium,
                          Beijing, China
              Mar, 2015   "The New AHA Guidelines", International Anesthesia Research
                          Society, Honolulu, Hawaii
              Mar, 2015   "The Economic Imperative for the Perioperative Surgical Home",
                          International Anesthesia Research Society, Honolulu, Hawaii
              Mar, 2015   "Performance_Measurement and new models of determining
                          quality" University of Utah Biomedical Informatics, Salt Lake
                          City, UT
              Mar, 2015   "Preoperative cardiac evaluation for non cardiac surgery",
                          Perioperative Medicine Summit 2015, Phoenix, AZ
              May, 2015   "Preoperative cardiac evaluation for non cardiac surgery", World
                          Congress of Enhanced Recovery After Surgery and Perioperative
                          Medicine, Washington D.C.
              Jul, 2015   "Measuring outcomes in perioperative care: new approaches and
                          paradigms", EBPOM, London
              Jul, 2015   "The impact of the ACC/AHA guidelines on reducing perioperative
                          harm", EBPOM, London
              Sep, 2015   "Measuring Perioperative Outcomes" Brigham and Women's
                          Hospital, Boston, MA
              Sep, 2015   "Strategies to reduce Cardiac Risk of Noncardiac Surgery" Brigham
                          and Women's Hospital, Boston, MA
              Sep, 2015   "The future of academic anesthesiology: leading change", Chinese
                          Society of Anesthesiology Annual Meeting, Xi'An, China
              Oct, 2015   "Strategies to Reduce Cardiac Risk for Noncardiac Surgery",
                          Japanese Society of Cardiovascular Anesthesia, Fukuoka, Japan
              Jan, 2016   "Performance measurement and new ways to measure performance",
                          Penn State Hershey Anesthesiology and Perioperative Medicine,
                          Hershey, PA
              Jan, 2016   "Strategies to reduce cardiac risk of non cardiac surgery", Penn State
                          Hershey Anesthesiology and Perioperative Medicine, Hershey, PA
              Apr, 2016   "Impact of respiratory compromise in US Healthcare", Becker's
                          Healthcare, Chicago, IL
              Apr, 2016   "Does the use of Regional Anesthesia Impact Outcome in Patients
                          with Cardiac Disease Undergoing Non-cardiac Surgery?" Indian
                          Society of Anesthesiologists Delhi Chapter, Delhi, India
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              Apr, 2016   "Root cause analysis in anaesthesia: Why?" Indian Society of
                          Anesthesiologists Delphi Chapter, Delphi, India
              Apr, 2016   "Assessing the patient with CAD for non-cardiac surgery: what's
                          new?", Indian Society of Anesthesiologists Delhi Chapter, Delphi,
                          India
              Apr, 2016   "Measuring Outcomes in Perioperative Care: New Approaches and
                          Paradigms", American Society of Enhanced Recovery, Washington,
                          DC
              May, 2016   "Health Policy Research: University of Pennsylvania Health
                          System", Association of University Anesthesiologists, San
                          Francisco, CA
              May, 2016   "Strategies to reduce cardiac risk of non cardiac surgery", Yale
                          University Department of Anesthesiology, New Haven, CT
              May, 2016   "Measuring Outcomes in the Era of Healthcare Reform", Yale
                          University Department of Anesthesiology, New Haven, CT
              May, 2016   "Preoperative Exercise Testing and Prehabilitation", International
                          Anesthesia Research Society, San Francisco, CA
              Jul, 2016   "Choosing wisely", Evidence based Perioperative Medicine Annual
                          Meeting, London, England
              Jul, 2016   "General Anaesthesia - A well tried solution", Evidence based
                          Perioperative Medicine Annual Meeting, London, England
              Aug, 2016   "Cost and quality containment", World Congress of
                          Anaesthesiologists, Hong Kong
              Aug, 2016   "Achieving value of perioperative care in the elderly", World
                          Congress of Anaesthesiologists, Hong Kong
              Aug, 2016   "Anesthesiologists in the value equation: beyond preventing
                          anesthesia related complications", Chinese Society of
                          Anesthesiologists Annual Meeting, Guangzhou, China
              Aug, 2016   "Strategies to reduce cardiac risk of non cardiac surgery", Chinese
                          Society of Anesthesiologists Annual Meeting, Guangzhou, China
              Aug, 2016   "Improving health and transforming care through measurement:
                          science and policy", Massachusetts General Hospital Department of
                          Anesthesia, Boston, MA
              Oct, 2016   "The Brain Health Initiative: What does the patient want to know
                          and what do we want them to know", American Society of
                          Anesthesiologists Annual Meeting, Chicago, IL
              Oct, 2016   "Is the Perioperative Surgical Home a viable option for
                          anesthesiology?: Con", American Society of Anesthesiologists
                          Annual Meeting, Chicago IL
              Oct, 2016   "Risk stratification tools from the preoperative to the postoperative
                          period", American Society of Anesthesiologists Annual Meeting,
                          Chicago, IL
              Nov, 2016   "Panel on Why health is no one's business: economic incentive
                          barriers to improving health" Global Action Summit, Nashville, TN
              Mar, 2017   "The place for PhDs in the Medical Schools of Tomorrow: Clinical
                          Department Perspective" Council for Faculty and Academic
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                          Societies, AAMC, Orlando, FL
              Mar, 2017   "Aspirin should be continued preoperatively" in Debate on
                          Perioperative Aspirin Therapy, Perioperative Medicine Summit, Fort
                          Lauderdale, FL
              Mar, 2017   "Evaluation Prior to Noncardiac Surgery: ACC/AHA Update",
                          Perioperative Medicine Summit, Fort Lauderdale, FL
              Sep, 2017   "Perioperative Brain Health Initiative: Anesthesiologist leadership in
                          improving population health". Chinese Society of
                          Anesthesiologists, Zhengzhou, CN
              Sep, 2017   "Leading An Academic Departmentï¼šThe US Perspective On
                          Demonstrating Value". Chinese Society of Anesthesiologists.
                          Zhengzhou, China
              Sep, 2017   "Strategies to reduce cardiac risk for non cardiac surgery". Polish
                          Society of Anesthesiology and Intensive Care. Bydgoszcz, Poland
              Sep, 2017   "Guidelines and Performance Measures: How do you apply the
                          evidence?"      Polish Society of Anesthesiology and Intensive Care.
                          Bydgoszcz, Poland
              Oct, 2017   "Strategies to reduce cardiac risk for non cardiac surgery", Boston,
                          MA
              Oct, 2017   "Quality Anesthesia: Medicine Measures, Patients Decide",
                          Rovenstine Lecture, American Society of Anesthesiologists, Boston,
                          MA
              Oct, 2017   "Brain Health- A Global Safety Challenge", International Forum on
                          Perioperative Safety and Quality, Boston, MA
              Oct, 2017   "Quality Anesthesia: Medicine measures, patients decide",
                          University of Kentucky, Lexington, KY
              Nov, 2017   "The American perspective: The perioperative surgical home",
                          Perioperative Medicine Special Interest Group of the Australian
                          Society of Anesthesiologists, 6th Annual Australasian Symposium
                          of Perioperative Medicine, Manly, Australia
              Nov, 2017   "Value based care: A system overhaul", Perioperative Medicine
                          Special Interest Group of the Australian Society of
                          Anesthesiologists, 6th Annual Australasian Symposium of
                          Perioperative Medicine, Manly, Australia
              Nov, 2017   "Research Directions in Perioperative Medicine", Perioperative
                          Medicine Special Interest Group of the Australian Society of
                          Anesthesiologists, 6th Annual Australasian Symposium of
                          Perioperative Medicine, Manly, Australia
              Nov, 2017   "Quality Anesthesia: Medicine Measures, Patients Decide", Henry
                          Ford Hospital, Detroit, MI
              Dec, 2017   "The Cardiac Patient Presenting for Non-Cardiac Surgery Sub-
                          Topic: Is there Any Value to Cardiology Consults During the
                          Perioperative Period?", Postgraduate Assembly in Anesthesiology,
                          New York, NY
              Feb, 2018   "Strategies to reduce cardia risk of noncardiac surgery", University
                          of Pittsburgh, Pittsburgh, PA
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              Mar, 2018   "Auditing, Reporting to the C-Suite", American Society of Enhanced
                          Recovery, Ft. Lauderdale, FL
              Mar, 2018   "Brain Health Initiative", Perioperative Medicine Summit, Ft.
                          Lauderdale, FL
              Mar, 2018   "CV Risk Assessment", Perioperative Medicine Summit, Ft.
                          Lauderdale, FL
              Mar, 2018   "Postoperative Care has to be Delivered by the Surgeon", American
                          Society of Enhanced Recovery, Ft. Lauderdale, FL
              Apr, 2018   "Payment reform, MACRA, Physician-Focused Payment Model
                          update", EBPOM-USA Masters Course. A Perioperative Care
                          Practicum; Atlanta, GA
              Jul, 2018   "Perioperative brain health initiative: A population health safety
                          initiative", Evidence Based Perioperative Medicine Symposium,
                          London, England
              Oct, 2018   "Perioperative Brain Health", Uniformed Services Society of
                          Anesthesiologists (USSA)/Association of Veterans' Affairs
                          Anesthesiologists (AVAA) Academic Meeting, San Francisco, CA
              Oct, 2018   "Preparation of the elderly patient undergoing surgery: when do we
                          need a preoperative consultation as opposed to skipping a clinic
                          visit?", ICAA-CSA symposium, San Francisco, CA
              Nov, 2018   "Quality of Perioperative care: using measurement to improve
                          outcome", Asian Australasian Congress of
                          Anaesthesiologists/Chinese Society of Anesthesiology Annual
                          Meeting, Beijing, CN
              Apr, 2019   "Patient decision making and engagement: How can we measure and
                          improve it?", American Society of Enhanced Recovery Annual
                          Meeting, Fort Lauderdale, FL
              Apr, 2019   "Auditing, Reporting to the C-Suite", American Society of
                          Enhanced Recovery Annual Meeting, Fort Lauderdale, FL
              May, 2019   "Findings from the Perioperative Brain Health Initiative and Their
                          Impact on Day-to-Day Practice", Harvard Anesthesiology Update
                          2019, Boston, MA
              May, 2019   "Measuring Patient Outcomes in the Perioperative Period", Harvard
                          Anesthesiology Update 2019, Boston, MA
              Jul, 2019   "Brain Health (Peri-Operative Quality Initiative: POQI 6) - what can
                          we do tomorrow?", Evidence-based Perioperative Medicine, London
              Jul, 2019   "Decision making for elective and end of life care", Trainees with an
                          Interest in Peri-Operative Medicine Annual Meeting, London
              Jul, 2019   "Communication and Decision-Making in Perioperative Care",
                          Cambridge University THIS Institute, Cambridge, England
              Sep, 2020   "From Data to Policy: _My 30 year Journey", Eckenhoff Lecture,
                          Department of Anesthesiology and Critical Care, Perelman School
                          of Medicine, University of Pennsylvania, Philadelphia, PA
              May, 2021   "The future of the specialty: how the pandemic and policy changes
                          should influence", International Anesthesia Research Society. T.H.
                          Seldon Lecture
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                 May, 2021         "Preoperative cardiac evaluation for non cardiac surgery", Michael
                                   E. DeBakey Veterans Medical Center Grand Rounds, Houston, TX

Organizing Roles in Scientific Meetings:
                  1991            Meeting of Investigators of Heart Rate Variability
                                  Unknown
                  1992            Meeting of Investigators of Heart Rate Variability
                                  Unknown
                  1993            Meeting of Investigators of Heart Rate Variability
                                  Unknown
                  1994            Meeting of Investigators of Heart Rate Variability
                                  Unknown
                 Oct, 2012        Organizer, Investigators in Perioperative Health Services Research
                                  Washington, DC
                 Jan, 2018        Planning Committee Member, Building the Evidence Base for
                                  Improving Health Care
                                  Contributions, opportunities, and priorities, National Academy of
                                  Sciences
                                  Washington, DC

Grants:
          Current:
             Assessing Hospital Quality of Care for Patients with Multimorbidity, NIH, 11/2019-
             6/2022 (Jeffrey Silber, PI), $79,433/annual direct costs (Role in grant: Co-I)

              Outcomes in Patients with Multimorbidity at Ambulatory Surgical Centers, NIH, 7/2019-
              6/2022 (Jeffrey Silber, PI: Lee Fleisher, Co-Investigator), $43,300/annual direct costs
              (Role in grant: Co-I)

              Neurocognitive Disorder after Appendectomy in the Elderly: A Natural Experiment
              , NIA, 4/2017-3/2022 (Jeffrey Silber, PI), $500,000/annual direct costs (Role in grant:
              Co-I )

              A Practical Intervention To Improve Patient-Centered Outcomes After Hip Fractures
              Among Older Adults (Regain Trial), Patient Centered Outcomes Research Institute
              (Pcori), 10/2015-7/2022 (Mark D. Neuman, PI), $57,660/annual direct costs (Role in
              grant: Co-I)

              Training In Critical Care Health Policy Research, National Heart, Lung, And Blood
              Institute/Nih/Dhhs, 5-T32-HL-098054-10, 5/2015-4/2020 (Scott Halpern, PI),
              $537,348/annual direct costs (Role in grant: Co-PI)

          Past:
             A matching Study of Outcomes and Costs at Teaching and Non-teaching Hospitals,
             Association of American Medical Colleges, 1/2016-12/2018 (Jeffrey Silber, M.D., Ph.D.,
             PI: Lee A. Fleisher, M.D., Co-Investigator), $100,000/annual direct costs, 2% effort
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           (Role in grant: co-P.I.)

           Understanding Multimorbidity through Multivariate Template Matching, NIA, 9/2015-
           9/2016 (Jeffrey Silber, M.D., Ph.D., PI), $238,095/annual direct costs, 1.25% effort (Role
           in grant: Co-I)

           Support For Pharmacoepidemiology Training, Pfizer Inc., N/A, 1/2014-12/2015 (SEAN
           HENNESSY, PI), $39,352/annual direct costs (Role in grant: Co-PI)

           Role Of Hif1a In Inflammation, Tissue Repair, And Cancer Of The Pancreas, American
           Association For Cancer Research, N/A, 7/2013-6/2016 (M. Celeste Simon, PI),
           $122,727/annual direct costs (Role in grant: Co-PI)

           Mixed-Methods Assessment Of Faer'S Investments In Career Development, Foundation
           For Anesthesia Education And Research, IMPACT ANALYSIS, 7/2013-12/2014 (LEE
           A. FLEISHER, PI), $57,402/annual direct costs (Role in grant: PI)

           Understanding Racial Disparities in Surgical Outcomes , NIH, 9/2012-8/2015 (Jeff
           Silber, PI), $387,785/annual direct costs, 5% effort (Role in grant: Co-investigator)

           Chronic Disease Clinical Epidemiology Training In Guatemala And Peru, Fogarty
           International Center/Nih/Dhhs, 5-D43-TW-008317-05, 7/2010-6/2016 (Charles C.
           Branas, PI), $199,884/annual direct costs (Role in grant: Co-PI)

           Improving process measurement, AHRQ, 1 R01 HS018338, 7/2010-6/2013 (Jeffrey H.
           Silber, PI), $375,000/annual direct costs, 2.5% effort (Role in grant: Co-I)

           Training In Critical Care Health Policy Research, National Heart, Lung, And Blood
           Institute/Nih/Dhhs, 5-T32-HL-098054-05, 5/2010-4/2015 (DAVID A ASCH, PI),
           $483,132/annual direct costs, 2% effort (Role in grant: Co-PI)

           Inspiratory Work Of Breathing During Proportional Assist Ventilation Compared With
           Assist Control Ventilation (Acv) In Acute Lung Injury (Ali), Tyco Healthcare, #2,
           12/2007-8/2009 (Maurizio F. Cereda, PI), $8,829/annual direct costs (Role in grant: Co-
           PI)

           A Prospective, Randomized, Double-Blinded Study Of The Effect On Improved
           Recovery Using The Sedline For The Titration Of Sevoflurane In Elderly Patients
           Undergoing Non-Cardiac Surgery After Beta-Adrenergic Blockade, Hospira, CP-09-003,
           11/2007-9/2008 (JONATHAN W TANNER, PI), $31,683/annual direct costs (Role in
           grant: Co-PI)

           Plan for Extracting Intraoperative Anesthesia Data to the ACS NSQIP Database, NLM,
           8/2007-7/2009 (Clifford Ko, PI), $149,820/annual direct costs (Role in grant: Co-
           Investigator)
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           A Multicenter, Randomized, Double-Blind, Placebo-Controlled, Parallel-Group Study Of
           Intravenous Methyinaltrexone (Moa-728) For The Treatment Of Post Operative Ileus,
           Wyeth-Ayerst Research, 3200L2-300-WWW, 3/2007-3/2009 (ASHISH C. SINHA, PI),
           $20,147/annual direct costs (Role in grant: Co-PI)

           Use Of The Sedline Monitor In Gastrointestinal Endoscopy Cases, Hospira, SEDLINE,
           9/2006-9/2007 (JONATHAN W TANNER, PI), $37,736/annual direct costs (Role in
           grant: Co-PI)

           Obesity and Surgical Outcomes, NIDDK, 1 R01 DK073671-01A1, 7/2006-6/2011
           (Jeffrey Silber, M.D., Ph.D., PI), $511,407/annual direct costs, 5% effort (Role in grant:
           Investigator)

           Cltr: Aprepitant For The Prevention Of Postoperative Nausea And Vomiting, Merck &
           Co., Inc., 6/2004-3/2005 (LEE A. FLEISHER, PI), $2,869/annual direct costs (Role in
           grant: PI)

           Evaluating patient information prescriptions in different service environments, National
           Library of Medicine, 10/2003-9/2006 (Nancy Roderer, M.D., PI), $150,000/annual direct
           costs, 5% effort (Role in grant: Co-Investigator, Single-center)

           FOCUS, NIH, 5U01HL073958-02, 9/2003-8/2008 (Jeffrey Carson, PI),
           $1,000,000/annual direct costs (Role in grant: Consultant/Steering Committee, A
           randomized trial of two different transfusion triggers in patients with hip fractures to
           determine return of functional status.)

           Phase III, multi-center, placebo-controlled, randomized, double-blind study to evaluate
           the efficacy of zoniporide administered perioperatively to subjects undergoing vascular
           surgery, Pfizer, 1/2002-6/2003 (Lee A. Fleisher, PI), $150,000/annual direct costs, 5%
           effort (Role in grant: PI)

           Relationship between discharge hemoglobin level and patient-oriented outcomes during
           recovery from surgery, Advanced Transfusion Practices and Blood Research, 7/2001-
           6/2002 (Lee A. Fleisher, PI), $70,429/annual direct costs, 10% effort (Role in grant: PI)

           Evidence review of management of atrial fibrillation in the post-coronary artery bypass
           patient, American College of Chest Physicians, 6/2001-11/2001 (Lee A. Fleisher, PI),
           $99,863/annual direct costs, 10% effort (Role in grant: PI)

           Cost-effectiveness of ambulatory blood pressure monitoring, Agency for Healthcare
           Quality and Research, 9/2000-9/2001 (Larry Appel, PI), $250,000/annual direct costs,
           2.5% effort (Role in grant: Co-Investigator)

           Impact of location of care and patient factors on the rate of complication and
           readmissions after outpatient surgery: a claims analysis, Society of Ambulatory
           Anesthesia (SAMBA), 7/2000-6/2002 (Lee A. Fleisher, PI), $100,000/annual direct costs,
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           5% effort (Role in grant: PI)

           A cost-findings study of the use of the hemosonic noninvasive cardiac output monitor
           compared to routine care in whipple surgery, Arrow International, 6/2000-12/2001 (Lee
           A. Fleisher, M.D., PI), $120,000/annual direct costs, 5% effort (Role in grant: PI)

           A randomized study of esmolol versus nitroglycerin in high risk lower extremity
           procedures, Baxter Pharmaceutical, 6/2000-5/2001 (Lee A. Fleisher, M.D., PI),
           $100,000/annual direct costs, 5% effort (Role in grant: PI)

           An open label, pharmacokinetic study to evaluate the pharmacokinetics,
           pharmacodynamics, toleration and safety of CP-597,396 administered for 24 hours in
           subjects undergoing coronary artery bypass (CABG) surgery, Pfizer, 4/2000-12/2001
           (Lee A. Fleisher, PI), $200,000/annual direct costs, 5% effort (Role in grant: PI)

           Phase II, multi-center, placebo-controlled, randomized, double-blind, dosing regimen
           optimization and dose-escalation study to evaluate the safety, toleration and clinical
           pharmacology of CP-597,396 administered in subjects undergoing vascular surgery,
           Pfizer, 4/2000-12/2001 (Lee A. Fleisher, PI), $300,000/annual direct costs, 5% effort
           (Role in grant: PI)

           Phase III trigger study: A3181007 a double blind, placebo-controlled, parallel group
           study of the effects of Zoniporide on perioperative cardiac events in high risk subjects
           undergoing noncardiac vascular surgery, Pfizer, 4/2000-12/2000 (Lee A. Fleisher, PI),
           $300,000/annual direct costs, 5% effort (Role in grant: PI)

           Cost effectiveness of preoperative evaluation before vascular surgery (CEPEVS),
           Maryland American Heart Association Grant-in-Aid, 1/2000-12/2001 (Lee A. Fleisher,
           PI), $60,000/annual direct costs, 10% effort (Role in grant: PI)

           Perioperative anemia recovery from surgery trial (PARST), International Anesthesia
           Research Society, 1/2000-12/2001 (Lee A. Fleisher, M.D., PI), $75,000/annual direct
           costs, 5% effort (Role in grant: PI)

           Anesthesia for cataract surgery, Agency for Health Care Policy & Research/Evidence
           Based Center, 1/2000-12/2000 (Lee A. Fleisher, PI), $249,000/annual direct costs, 10%
           effort (Role in grant: Co-PI)

           Bayesian communication of clinical trials, National Library of Medicine, 10/1999-9/2002
           (Harold Lehmann, PI), $249,211/annual direct costs, 1% effort (Role in grant: Evaluator)

           Cost-effectiveness of perioperative ROMI protocols, Dade Pharmaceuticals, 1/1999-
           12/1999 (Lee A. Fleisher, PI), $108,000/annual direct costs, 5% effort (Role in grant: PI)

           Pharmacologic modulation of cocaine effects, NIH, 1/1999-12/1999 (George Bigelow,
           PI), $331,935/annual direct costs, 5% effort (Role in grant: Co-Investigator)
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           Analysis of the medicare database to assess morbidity and mortality after outpatient
           anesthesia, Anesthesia Patient Safety Foundation, 1/1998-12/1998 (Lee A. Fleisher, PI),
           $42,800/annual direct costs, 10% effort (Role in grant: PI)

           Remifentanil in microsuspension laryngoscopy, Glaxo Pharmaceuticals, 1/1997-12/1998
           (Lee A. Fleisher, PI), $24,902/annual direct costs, 5% effort (Role in grant: PI)

           Analysis of short- and long-term costs of cardiovascular disease in patients undergoing
           major vascular surgery: Analysis of medicare claims data, DuPont Pharmaceuticals,
           1/1995-12/1996 (Lee A. Fleisher, PI), $20,000/annual direct costs, 5% effort (Role in
           grant: PI)

           The effect of enalaprilat on heart rate variability, Merck Pharmaceuticals, 1/1995-
           12/1996 (Lee A. Fleisher, PI), $16,500/annual direct costs, 5% effort (Role in grant: PI)

           ACR: A mechanism for disseminating information and improving patient satisfaction,
           Society of Ambulatory Anesthesia, 1/1994-12/1995 (Lee A. Fleisher, PI), $10,000/annual
           direct costs, 1% effort (Role in grant: PI)

           Outpatient laparoscopic surgery trial, Glaxo Pharmaceuticals, 1/1994-12/1995 (Lee A.
           Fleisher, PI), $35,000/annual direct costs, 5% effort (Role in grant: PI)

           Utilization of information from preoperative cardiac evaluation, Dupont Pharma,
           CG#94019, 1/1994-12/1995 (Lee A. Fleisher, PI), $15,000/annual direct costs, 5% effort
           (Role in grant: PI)

           Anesthesia as a stress test, Caliber Medical, 1/1993-12/1994 (Lee A. Fleisher, PI),
           $25,000/annual direct costs, 1% effort (Role in grant: PI)

           CAD mechanisms in high risk families: racial differences, NIH, NIH-92-HL-1-H,
           1/1992-12/1996 (Lewis Becker, PI), $273,815/annual direct costs, 5% effort (Role in
           grant: Co-Investigator)

           Methods of anesthesia and analgesia for aortic surgery, NIH, GM38177-05, 1/1992-
           12/1996 (Richard Traystman, PI), $248,355/annual direct costs, 5% effort (Role in grant:
           Co-Investigator)

           Amlodipine and heart rate variability, Pfizer Pharmaceutical, 1/1992-12/1993 (Lee A.
           Fleisher, PI), $35,000/annual direct costs, 5% effort (Role in grant: PI)

           Perioperative body temperature myocardial ischemia trial, Mallinckrodt Medical, 1/1992-
           12/1993 (Steve Frank, PI), $108,863/annual direct costs, 5% effort (Role in grant: Co-
           Investigator)

           Power spectral analysis and reflex sympathetic activation in high risk patients undergoing
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              regional anesthesia, Society of Cardiovascular Anesthesiologists Starter Grant, 1/1991-
              12/1991 (Lee A. Fleisher, PI), $10,000/annual direct costs, 20% effort (Role in grant: PI)

              Power spectral analysis and reflex sympathetic activation in high risk patients undergoing
              regional anesthesia, Foundation of Anesthesia Education and Research Young
              Investigator Award, 1/1991-12/1991 (Lee A. Fleisher, PI), $20,000/annual direct costs,
              20% effort (Role in grant: PI)


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              3. Fleisher LA, Nelson AH, Rosenbaum SH: The failure of negative dipyridamole
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FLEISHER DECLARATION:
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                
                           
                                                                 

           
           

           
           


           
           
           
           
                 
            
           

                                                                                     
                                                                           
                                                                         
                                
                                     
                               
                         
                             
                          
           
                               
                                           
                                   
                                          
                              
                               
                                       
                                       
                                 
                                                  
                                                                                     
                                                                             
                                   
                                       
                               
                                 


                                                                                 



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                                  
                         
                      
                                 
                         
                                            
                                      
                            
                              
                        
           
                    
                      
                              
                   
                                                     
                                                                              
                                                  
                                                               
                                                                                       
                                      
                                                                                   
           
                                                                              
           
                                                                              
           
                                                                                       
                 
                           
                                        
                         
                           
                             
                              
                                   
                                
                         
                             
                   
                                          
                                                                                     
                                                            
                              
                                 
                                 
                              
                                
                                
                                
                          
                               
                  
                                   
                      
                        
                        



                                                            



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                                                         
                                                                
                                                                              
                                 
                                
                                
                               
                      
                           
                   
                        
                      
                                               
                                      
                               
                      
                    
                                
                                 
                            
                      
                            
                    
                      
                            
                          
                       
                           
                          
                              
                                 
                    
                             
                                                                        
                            
                           
                              
                          
                         
                            
                                  
                              
                                
                             
                                                                     
                                                                              
                                                
                                 
                                  
                                  
                                  
                        
                    



                                                             



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                                  
                                  
                        
           
                         
                                 
                         
                             
                        
                       
                              
                             
                               
                            
                                
                                  
                              
                              
                              
                      
                     
                 
                         
           
                           
                             
                      
                              
                           
                                 
                            
                        
                           
                             
                        
                  
                      
                                                 
                                                                                      
                                            
                                                          
                                                                               
                                     
                           
                                   
                                    
                             
                                
                          
                                  
                              
                       
                        



                                                             



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                                                 
                                                                
                                                                   
                                                               
                                                              
                                                            
                                                                
                                                                                              
                                       
                                                                                            
                                       
                                                           
                                         
                                       
                                       
                                       
                                       
                                       
                                      
                                      




                                       
                                          
                                            
                                    
                                              
                                           
                                                                            
                                                                                                
                                                       
                                                  
                                              
                                                                                           
               
                                                                                                  
                                           
                                     
                                   
                                          
                                       
                                      
                                   
                                      
           
                                 
                                    
                                         
                                     
                                      



                                                                              



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                                                           

                      
                       
                       
                         
                         
                           
                         
                       
                         

                       
                       
                       
                       
                         
                         
                           
                         
                           
                         
                           
                           
                         
                           
                       
                         
                       
                       
                         
                       
                         
                         
                           
                         
                       
                         
                      
                      
                      
                       
                      
                      
                       
                      




                                                                                        



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                                
                            
                            
                              
                   
                         
                        
                       
                                               
                                                                               
                                                  
           
                      
                           
                               
                               
                              
                                  
                           
                
                      
                   
                         
                            
                 
                     
                           
                                
                                                      
                                                                                   
                                         
                                                        
                                
                         
                     
           
                                                                                
           
                         
                       
                          
                              
                              
                            
                  
                             
                   
                             
                               
                                
                        
                    
                       



                                                            



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                       
                         
                      
                      
                           
                                  
                               
                                      
                                     
                   
                        
                            
                              
                        
                           
                              
                            
                       
                            
                        
                            
                                   
                                 
                              
                             
                              
                                               

                                        
                                                            
                               
                             
                            
                        
                         
                        
                      
                         
                          
                           
                                                               
                                                                              
              
                                                                              
                                                         
                        
                       
                        
                      
                                      
                            
                           
                      



                                                            



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                                 
                         
                        
                        
                                                            
                                                                                    
                                           
                                   
                                                 
                                                                         
                                                                                   
                          
                        
                   
           
                
                        
                     
                  
                             
                       
                 
                        
                                                                                  
           
                                                                                      
           
                                                                                  
                 
                                                                                  
           
                                                                                         
                 
                                                                                         
           
                                                                                  
           
                                                                                  
           
                           
                             
                             
                          
                              
                 
                       
                       
                  
                           
                                                           
                                                                                  
                                         
                                             
                             
                                
                                      
                           
                             
                          
                      
                                 



                                                            



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                         
                                
                                                                      
                                   
                              
                             
               
                      
                           
                                  
                                    
                                           
                                                                                      
                                     
                                
               
                                                                                      
                                        
                                   
                                                 

                              
                                                                                          
                                      
                                
                               
                                  
                                       
                                                                                    
                                                                                         
                                           
                                     
                                                                                        
                                  
                                    
                                     
                                        
                                        
                                                
                                                                                     
                                           
               
                                  
                               
                                  
                                                
                                                                                   
                                      
                                  
                                        
                              
                                     
                                                          
                                                                                 
                                  
                               
                                  
                                                            



                                                            



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                                               
                                          
                                          
                                        
                                            
                                                                          
                                 
                         
                                             
                                             
                                      
                                         
                                         
                                          
                                                                             
                                     
                                        
                                                     
                                  
                                        
                                         
                                                                 
                                      
                                 
                                             
                                                                           
                                     
                                          
                                                                       
                                            
                                              
                                    
                                     
                                                                                                                                          
                                                                                                   
                   
                                                                                               
                         
                                                                                           
                        
                                    
                                                                  
                                                                                                 
                            
                 
                                                           
                                                                                                 
                                
                         
                                     
                                          
                                    
                                     
                                                                   
                                         
                                              
                                          
                                       
                                                               
                                            
                                    
                             
                                                      



                                                                    



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                                         
                                                        
                               
                                      
                                                                                          
                
                                                                                            
                     
                                                                                          
                                             
                                       
                                                                              
                                  
                                          
                                              
                                  
               
                                                                                             
                                        
                                      
                   
                                                                               
                                                                                               
                                      
                                 
                       
                                                                                     
               
                                                                                          
                                   
                                      
                                        
                             
                                       
                                   
               
                                                                                            
                                           
                                    
                      
                                               
                                                                                          
                     
                                                                                     
               
                                                                                          
               
                                                                                                
               
                                                                                          
                                       
                                            
                                        
                                    
                                       
                                 
                                                                              
                                
                                        
                                         
                                     
                                                                              
                                           
                                
                                           
                                         
                                                                                   
                                       
                                          
                                   
                                          



                                                                    



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               
                                                            
                                                 
                                                                               
                                                                                                             
                                                             
                                                     
                                                     
                                                            
                                                      
                                                  
                                                     
                                                    
                                                      
                                                                                                 
                                                                                                       
                                              
                 
                                               
                                                                                                               
                 
                                                                                                       
                     
                                                                                                                    
                         
                                                                                                                
                        
                                                                                                              
                                                             
                                                           
                                                                                        
                                                                                                                
                                                                                                          
                                                                                                                
                                                                                                                       
                                                     
                                            
                                                
                                                  
                                            
                                      
                                                                                                       
                  
                                               
                                                                     
                                                   
                                           
                                           
                                       
           




                                 
           
                                 
           
           
                                                                                                                      
                     
           
           
           




                                                                                     



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FLEISHER DECLARATION:
       EXHIBIT C
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